Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 1 of 118




                         Exhibits 1-2
                           REDACTED
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 2 of 118




                               EXHIBIT 3
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 3 of 118
         Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 4 of 118




10/1/2018                                                                             Servers com Is Expanding to Russia

                                                     customers with new opportunities, and will allow us to launch our project,
                                                     Servers.com, in Russia under the brand Servers.ru before the end of 2015."

                                                     Edinaya Set's Managing Director, Sergey Krysenko agrees, "We have, so far,
                                                     been developing our portfolio linearly. It has certainly worked but our newly-
                                                     formed partnership allows us to improve. The experience we have
                                                     accumulated, together with XBT's resources, will ensure that our IT              Syria rebel faction rejects Idlib deal
                                                                                                                                      AFP
                                                     infrastructure will receive a needed optimization."

                                                     The global hosting environment has motivated XBT Holding's management to
                                                     continue the strategic expansion. The emerging markets in Asia have shown
                                                     the importance of a transcontinental connection. Customers from East and
                                                     West seek to broaden their portfolios with additional redundancy and better
                                                     reach. Servers.com now allows for a complete line of services to be utilized,
                                                     from the US to Europe and Asia.

                                                     The deal has been closed on August 25th, and all achieved agreements are         Florida Millionaire Predicts 'Cash Panic' In 2019
                                                     now in effect.                                                                   Stansberry Research Sponsored



                                                     About XBT Holding

                                                     XBT Holding S.A. is a privately-owned global hosting, network solutions and
                                                     web development provider founded in 2005, with offices in 8 countries.
                                                     Worldwide enterprise and SMB customers rely on XBT's international
                                                     expertise and comprehensive service portfolio, including managed dedicated
                                                     hosting, colocation, shared and VPS hosting, high-performance network,
                                                     cloud, web and application development services. The company operates a          Oil Price Fundamental Weekly Forecast –
                                                     worldwide proprietary network through five carrier-neutral datacenters and 13    Anticipated Shortfall Expected to Continue to
                                                                                                                                      Drive Prices Higher
                                                     points of presence in the United States, Europe and Asia, with more than
                                                                                                                                      FX Empire
                                                     16,000 servers throughout seven subsidiaries. XBT Holding partners with
                                                     most major Tier 1 networks to ensure high-speed international connectivity up
                                                     to 2 Tbps. XBT is now one of the fastest-growing companies in the Internet
                                                     infrastructure industry. Visit XBT online at xbt.com.




https://finance.yahoo com/news/servers-com-expanding-russia-050000657 html                                                                                                        2/4
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 5 of 118
         Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 6 of 118




10/1/2018                                                                    Servers com Is Expanding to Russia




https //finance.yahoo.com/news/servers-com-expanding-russia-050000657.html                                        4/4
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 7 of 118




                               EXHIBIT 4
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 8 of 118
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 9 of 118
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 10 of
                                     118
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 11 of
                                     118
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 12 of
                                     118
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 13 of
                                     118
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 14 of
                                     118
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 15 of
                                     118
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 16 of
                                     118




                          Exhibits 5
                          REDACTED
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 17 of
                                     118




                             EXHIBIT 6
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 18 of
                                     118
       Case 0:17-cv-60426-UU
10/1/2018                                   Document
                                                Trump’s 236-3      Entered
                                                        Putin problem returns in on
                                                                                 a bigFLSD     Docket
                                                                                       way - The         10/09/2018
                                                                                                 Washington Post    Page 19 of
                                                                    118
don’t know how or why, in part because he still refuses to turn over his tax returns that might show a Russian
connection.

Separately, Franklin Foer at Slate reports that a Russian bank had a server connection with a Trump server in New
York. “The irregular pattern of server lookups actually resembled the pattern of human conversation —
conversations that began during office hours in New York and continued during office hours in Moscow,” he writes.
“It dawned on the researchers that this wasn’t an attack, but a sustained relationship between a server registered to
the Trump organization and two servers registered to an entity called Alfa Bank.” Both the bank and the Trump
campaign deny any relationship or communication was going on, but there is plenty of smoke. When a New York
Times investigation turned up the supposed server connection, something curious happened:

The Trump organization shut down the server after Alfa was told that the Times might expose the connection.
Nicholas Weaver told me the Trump domain was “very sloppily removed.” Or as another of the researchers put it, it
looked like “the knee was hit in Moscow, the leg kicked in New York.”

Four days later, on September 27, the Trump organization created a new host name, trump1.contact-client.com,
which enabled communication to the very same server via a different route.

So, sure, this might amount to nothing untoward, but it comes in the context of the “efforts of Donald Trump’s former campaign
manager [Manafort] to bring Ukraine into Vladimir Putin’s orbit; the other Trump advisor whose communications with senior Russian officials
have worried intelligence officials [Carter Page]; the Russian hacking of the [Democratic National Committee] and John Podesta’s email.”
Clinton adviser Jake Sullivan put out a statement, which read in part:
This secret hotline may be the key to unlocking the mystery of Trump’s ties to Russia. It certainly seems the Trump
Organization felt it had something to hide, given that it apparently took steps to conceal the link when it was
discovered by journalists.

This line of communication may help explain Trump’s bizarre adoration of Vladimir Putin and endorsement of so
many pro-Kremlin positions throughout this campaign. It raises even more troubling questions in light of Russia’s
masterminding of hacking efforts that are clearly intended to hurt Hillary Clinton’s campaign. We can only assume
that federal authorities will now explore this direct connection between Trump and Russia as part of their existing
probe into Russia’s meddling in our elections.

To recap, we know that Clinton improperly set up a private server. We know that the Clinton foundation operated while she was secretary of
state, that the Clintons’ money-making endeavors got mixed with the foundation’s work and that Clinton met at various times with some
Clinton foundation donors (who included longtime allies, philanthropists and others one might expect to do business with the State
Department). There is no evidence of any quid pro quo. We’ve always known that the Clintons valued private interests, especially when it
involved money, more highly than they valued preventing the appearance of conflicts of interest or actual conflicts. She is known to be an
ethically challenged person. No one would go into her presidency blind, and congressional oversight would be essential.
With Trump, however, we know he has allowed himself to become Putin’s puppet. Maybe he is a “useful idiot” manipulated by aides with
deep Russian connections, maybe he has his own financial connections (which tax returns might or might not reveal) or maybe the
ignoramus billionaire simply is infatuated with authoritarians. We do not know, bluntly, how far the connection goes or where Trump’s
loyalties lie.
Given the choice between a knowledgeable, responsible candidate who has cut corners to secure wealth and power and a racist,
xenophobic, ignorant and erratic personality unable or unwilling to learn much of anything (someone who is, worst of all, a puppet of one of
America’s enemies), we have little doubt that Trump is the greater of two evils.
Won’t Clinton’s presidency be tied up in scandals and investigations? Perhaps, but then Republicans don’t have much to worry about her
pursuit of an aggressive agenda, especially if the GOP keeps majorities in one or more houses. The danger from Trump is not that he would
be a hobbled executive but that he would act on his authoritarian tendencies and pursue interests contrary to U.S. national security at the


https://www.washingtonpost.com/blogs/right-turn/wp/2016/11/01/trumps-putin-problem-returns-in-a-big-way/?noredirect=on&utm_term=.86982b2942af   2/3
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 20 of
                                     118
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 21 of
                                     118




                             EXHIBIT 7
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 22 of
                                     118
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 23 of
                                     118
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 24 of
                                     118
       Case 0:17-cv-60426-UU
10/1/2018                       Document
                          Cloak-and-dagger saga236-3     Entered
                                                over Trump            onoutFLSD
                                                           dossier plays    in MiamiDocket     10/09/2018
                                                                                     | McClatchy                Page 25 of
                                                                                                 Washington Bureau
                                                                118




Miami attorney Roy Black
             - The Miami Herald file photo



The dossier is actually a collection of private “ opposition research” memos, paid for first by people close to
Trump’s primary opponents and later by a Hillary Clinton supporter. Steele’s dossier claimed on the final page
of the 35-page document that XBT was used as a platform for the hack of the Democratic National
Committee and subsequent release of private emails.

That allegation, unsupported with evidence, put a little-known company under an international spotlight.
Gubarev sued Buzzfeed, claiming he never got a chance to dispute the unverified claims. The news site
published the dossier on Jan. 10, 2017, weeks before President Trump’s inauguration.

A new investigation by McClatchy-Miami Herald shows that going to trial might force XBT’s owner to testify
about uncomfortable topics. The investigation found that companies owned and operated by XBT were either
used by or affiliated with companies connected to the spread of two notorious computer viruses —the Gozi
virus and the Methbot virus.

The findings do not prove or disprove claims made about XBT in the dossier, but show how the company
could have been used by cyber criminals, wittingly or unwittingly.

McClatchy found evidence that a web hosting company that is part of the broad XBT family was one of the
many platforms used to spread the Methbot virus, a sophisticated operation that tricked online advertisers
into paying for fake views of video ads.

The investigation found that Nikita V. Kuzmin, the creator of the Gozi virus, which stole online banking data,
incorporated at least three companies in South Florida, with the administrative assistance of Webzilla officer
Constantin Luchian. He’s a Moldova-born naturalized U.S. citizen who runs a company called Incorporate
Now, which had been based in Fort Lauderdale and now operates out of Lake Worth.
By continuing to use this site, you give your consent to our use of cookies for analytics, personalization and ads. Read more




https://www.mcclatchydc.com/latest-news/article218740565.html                                                                   4/9
       Case 0:17-cv-60426-UU
10/1/2018                       Document
                          Cloak-and-dagger saga236-3     Entered
                                                over Trump            onoutFLSD
                                                           dossier plays    in MiamiDocket     10/09/2018
                                                                                     | McClatchy                Page 26 of
                                                                                                 Washington Bureau
                                                                118
Citing court documents and regulatory filings, McClatchy reported last November that XBT and its affiliates
as well as Luchian had drawn the ire of anti-piracy groups. A chunk of the company’s business involves
hosting file-sharing sites, where pirated music, videos or movies can be downloaded. These downloads can
also be baited with malware that can adversely affect a computer user’s operating system in sundry ways.

Music industry associations and attorneys who investigate copyright infringement described XBT/ Webzilla as
a facilitator of piracy, something XBT’s attorney vigorously denied.

Why XBT was named in a dossier was never clear and Steele has been silent. Several people familiar with
Steele’s thinking have said he does not know why his Russian sources fingered XBT. The dossier alleged that
“ XBT/ Webzilla and its affiliates had been using botnets and porn traffic to transmit viruses, plant bugs, steal
data and conduct ‘altering operations.’ ” These are among the allegations that XBT denies and form the basis
of the defamation suit.

The dossier also alleged that Gubarev had been coerced by the Russian government because it had
compromising information on him, something he flatly denied to McClatchy when giving his first interview on
the topic to any news organization, the day after Buzzfeed published the dossier.

Using tools to study digital fingerprints on the Internet, McClatchy stumbled on an email in code language
associated with what is known as the Methbot virus. That address appeared in Internet traffic moving via a
Fort Lauderdale-based web hosting company called Wz Communications.

Florida documents show it was incorporated in 2009 by XBT employee Kostyantyn Bezruchenko. His
LinkedIn page lists him as chief technology officer for Servers.com, owned by XBT, and shows that in 2009
he was in the same role for Webzilla.

In a statement to McClatchy, Gubarev acknowledged that a blogger accused the company in December 2016
of being used in the Methbot fraud.

“As soon as Webzilla learned of the accusation, we immediately closed the client’s account and retained the
relevant hard drives — which we have kept in case they may be useful to law enforcement,” Gubarev said.
“ To date, no law enforcement agency has contacted us about that alleged fraud or the hard drives.”




 y continuing to use this site, you give your consent to our use of cookies for analytics, personalization and ads. Read more




https://www.mcclatchydc.com/latest-news/article218740565.html                                                                   5/9
       Case 0:17-cv-60426-UU
10/1/2018                       Document
                          Cloak-and-dagger saga236-3     Entered
                                                over Trump            onoutFLSD
                                                           dossier plays    in MiamiDocket     10/09/2018
                                                                                     | McClatchy                Page 27 of
                                                                                                 Washington Bureau
                                                                118




Aleksej Gubarev is suing the news website Buzzfeed.


The Methbot virus was largely unknown until the security firm WhiteOps, which took the unusual step in
December 2016 of putting out a free report to expose what it called “ an army of automated web browsers
run from fraudulently acquired IP addresses.” These automated commands, called bots, made it look like 300
million video ads were being viewed daily by people sitting at computers, attracting millions of dollars from
Internet advertisers.

WhiteOps officials did not answer requests for comment, but in the 2016 report said that Methbot was unique
because rather than launching bots through infected computers at homes and offices it used infected
computer data centers — anywhere between 800 and 1,200 computer servers at any given time. The physical
servers, it said, were in Dallas and the Dutch city of Amsterdam.

WhiteOps did not identify companies so it is unclear whether that is a reference to XBT, which has seven
subsidiaries spread across three continents. In the Netherlands, Webzilla operates a data center with 6,000
servers. On its own website, Webzilla says it operates a data center in Dallas and 3,000 servers in the United
States.

Both Dallas and Amsterdam have technology clusters, and there is no evidence XBT or its affiliated companies
had any direct role in or knowledge of Methbot. But the spread of Methbot underscores how XBT or its
affiliates could have been used in Russia’s efforts to interfere in the 2016 election campaign.

By continuing to use this site, you give your consent to our use of cookies for analytics, personalization and ads. Read more




https://www.mcclatchydc.com/latest-news/article218740565.html                                                                   6/9
       Case 0:17-cv-60426-UU
10/1/2018                       Document
                          Cloak-and-dagger saga236-3     Entered
                                                over Trump            onoutFLSD
                                                           dossier plays    in MiamiDocket     10/09/2018
                                                                                     | McClatchy                Page 28 of
                                                                                                 Washington Bureau
                                                                118
“ Webzilla is one of the largest internet providers in Europe. It is impossible for an internet provider with tens
of thousands of clients and hundreds of thousands of IP addresses to monitor all traffic going through its
network,” said Gubarev. “ Much like a phone company cannot monitor all of its customers’ conversations or
how its customers use their telephones, no one on our team was aware [and could not possibly have been
aware] of any improper activity.”

Both the dossier and Gubarev can be right, offered Andrew Weisburd, a cyber security and intelligence expert
at the German Marshall Fund, a foreign policy think tank.

“ Their explanation is entirely plausible, as is the Steele Dossier’s description of Mr. Gubarev as essentially a
victim of predatory officers of one or more Russian intelligence services,” said Weisburd. “ I have some
difficulty squaring those two things with …Gubarev’s aggressive pursuit of Steele and BuzzFeed. Neither
BuzzFeed nor Steele have accused Gubarev of being a willing participant in wrongdoing.”

XBT also has an indirect overlap with the Gozi virus. The virus dates back to the mid-2000s and used so-
called zombie malware to hack into a computer’s browser and mimic its behavior in order to steal online
banking logins and other vital information.

Federal prosecutors in the Southern District of New York arrested its creator, Nikita V. Kuzmin, in 2013. He
was nabbed while visiting San Francisco, and prosecutors said at the time that his signature virus infected
more than 100,000 computers worldwide, about 25 percent of them in the United States, including some at
NASA, causing tens of millions of dollars in losses.

The Gozi virus was so successful that Kuzmin rented it out to other criminal organizations for a cut of the
proceeds. He was sentenced to time served in May 2016 and sent home to Russia, but part of what led to his
discovery was an email from Nikita@youdo.ru.

Kuzmin happened to be director of YouDo Inc., registered in Fort Lauderdale in 2010 by Incorporate Now,
run by Webzilla officer Constantin Luchian. He also handled the registration for Kuzmin Fresh IT Solutions
Inc. in 2010 and ServerClub Inc. in 2011.

It appears that Luchian continues to do business with Kuzmin because ServerClub remains an active Florida
company, with Kuzmin listed in its 2017 annual report as its chief director. On its website, ServerClub
describes itself as a dedicated hosting provider operating on leased servers. The address listed for Server club
in documents and one its website is the same one as Incorporate Now in Lake Worth, and as Wz
Communications, the web hosting company thought to have been used in the spread of the Methbot virus.

XBT said Incorporate Now is Luchian’s business and is not related. He did not respond to calls left at
Incorporate Now, whose mailing address leads to a shared office space that until recently housed a
restaurant. He is listed on the website of the shared-space operator Social House, which calls itself “ a
boutique creative co-working and event space.” Its owners did not return calls and emails seeking information
about Incorporate Now.
By continuing to use this site, you give your consent to our use of cookies for analytics, personalization and ads. Read more




https://www.mcclatchydc.com/latest-news/article218740565.html                                                                   7/9
       Case 0:17-cv-60426-UU
10/1/2018                       Document
                          Cloak-and-dagger saga236-3     Entered
                                                over Trump            onoutFLSD
                                                           dossier plays    in MiamiDocket     10/09/2018
                                                                                     | McClatchy                Page 29 of
                                                                                                 Washington Bureau
                                                                  118
Kevin G. Hall: 20 2-383-60 38, @KevinGHall


   COMMENTS




                             TAKE US WITH YOU
                             Real-time updates and all local stories you want right in the palm of your hand.




                             SUBSCRIPTIONS
                             Newsletters




                             LEARN MORE
                             Customer Service

                             Securely Share News Tips

                             Contact Us




                             ADVERTISING
                             Advertise With Us




   COPYRIGHT

By continuing to use this site, you give your consent to our use of cookies for analytics, personalization and ads. Read more
   PRIVACY POLICY



https://www.mcclatchydc.com/latest-news/article218740565.html                                                                   8/9
       Case 0:17-cv-60426-UU
10/1/2018                       Document
                          Cloak-and-dagger saga236-3     Entered
                                                over Trump            onoutFLSD
                                                           dossier plays    in MiamiDocket     10/09/2018
                                                                                     | McClatchy                Page 30 of
                                                                                                 Washington Bureau
                                                                118


   TERMS OF SERVICE




By continuing to use this site, you give your consent to our use of cookies for analytics, personalization and ads. Read more




https://www.mcclatchydc.com/latest-news/article218740565.html                                                                   9/9
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 31 of
                                     118




                            Exhibit 8
                          REDACTED
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 32 of
                                     118




                             EXHIBIT 9
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 33 of
                                     118
                                                                                          Filed
                                                                                          D.C. Superior Court
                                                                                          04/16/2018 14:43PM
                                                                                          Clerk of the Court


                      IN THE SUPERIOR COURT OF THE DISTRICT OF COLUMBIA

                                                CIVIL DIVISION

                                                             X

        MIKHAIL FRIDMAN, PETR AVEN, AND
        GERMAN KHAN,                                                           18 - 0 0 0 2 6 6 7
         do CARTER LEDYARD & MILBURN LLP                           2018 CA
        2 Wall Street
        New York, NY 10005,
                                                                   COMPLAINT
                                      Plaintiffs,

                       -v-

        ORBIS BUSINESS INTELLIGENCE LIMITED
        AND CHRISTOPHER STEELE,
        9-11 Grosvenor Gardens
        London SW I W OBD,

                                      Defendants.
                                                             X

                                           COMPLAINT
                                      (JURY TRIAL DEMANDED
                                           DEFAMATION)

               Plaintiffs Mikhail Fridman, Petr Aven, and German Khan, by their attorneys

        Carter Ledyard & Milburn LLP, allege as follows:

                                           INTRODUCTION

               1.      This is a defamation case brought by three international businessmen who

        were defamed in widely disseminated political opposition research reports commissioned

        by political opponents of candidate Donald Trump in the 2016 presidential election cycle.

        The reports (which came to be known as the "Trump Dossier," the "Steele Dossier" and

        simply as the "Dossier") were published both before and after the 2016 presidential

        election by Defendants Orbis Business Intelligence Limited ("Orbis") and Christopher
                                                    -1-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 34 of
                                     118




        Steele ("Steele" and, with Orbis, the "Orbis Defendants") pursuant to an engagement

        between Orbis and Fusion GPS ("Fusion")—a Washington, D.C. based firm specializing

        in political opposition research whose principal, Glenn Simpson ("Simpson"), is a former

        journalist. Fusion trafficked in procuring damaging information about political

        candidates from various sources, including willing suppliers of such information like

        Defendants. Defendants accepted this engagement by Fusion knowing it was intended to,

        and likely would, have profound effects in the United States, and specifically the District

        of Columbia, because the engagement was political opposition research intended to be

        used in connection with the election of the President of the United States.

               2.      One of the reports, written by Defendants and supplied to Fusion, is

        gravely damaging in that, directly or by implication from the rest of the Dossier, it falsely

        accuses the Plaintiffs—and Alfa ("Alfa"), a consortium in which the Plaintiffs are

        investors—of criminal conduct and alleged cooperation with the "Kremlin" to influence

        the 2016 presidential election. But neither the Plaintiffs nor Alfa committed any of the

        acts recklessly attributed to them by the Defendants. To the contrary, the Plaintiffs and

        Alfa are collateral damage in a U.S. political operation in which Defendants willingly and

        knowingly participated, whose focus was an alleged relationship (between the Kremlin

        and the Trump campaign) which has nothing whatsoever to do with the Plaintiffs.

               3.      The specific "report" that includes facially defamatory statements about

        the Plaintiffs is one of seventeen Company Intelligence Reports 2016 ("CIRs") authored

        by Defendants that comprise the Tnimp Dossier. The Defendants prepared Company

        Intelligence Report 112 (the "Report" or "CIR 112"), which makes statements about the

        Plaintiffs, for inclusion in the Trump Dossier, even though the Plaintiffs' past, current
                                                     -2-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 35 of
                                     118




        and intended future activities have nothing to do with the Dossier's intended subject

        matter and purpose. Broadly, the Dossier purports to describe details of an alleged

        scheme between the Russian government and the Trump presidential campaign to

        unlawfully manipulate the result of the 2016 U.S. presidential election in favor of

        candidate Trump.

               4.      The Defendants prepared CIR 112 as part of their engagement by Fusion

        to conduct "opposition research" (known as "oppo research" by its practitioners and the

        media) against Trump, even though its text, unlike that of the other reports, does not

        mention Trump or his campaign. Opposition research, in essence, is the gathering of

        information for the purpose of eventually discrediting or otherwise harming the

        candidacy of a candidate for a public office. Opposition research is neither objective nor

        neutral. Instead, it is skewed from the outset in favor of appearing to find negative

        information about individuals—the essence of the product that political opposition

        research practitioners such as the Defendants are hired to produce.

               5.        Fusion and Simpson were initially hired to conduct opposition research

        by Republican Party political opponents of candidate Trump during the primary phase of

        the 2016 election cycle. That engagement was terminated when it became clear that Mr.

        Trump would be the Republican nominee. At that point, Fusion and Simpson solicited

        and obtained an engagement with the Democratic National Committee and the campaign

        of candidate Hillary Clinton to gather discrediting information about Mr. Trump,

        including any connections he might have to Russian businesses or Russia's government.

        In connection with that engagement, Fusion hired Orbis and Steele, who promptly went

        to work on the project in June, 2016. Steele used his network of "paid collectors" who

                                                     -3-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 36 of
                                     118




        gathered information from "subsources" in Russia, which Steele compiled into written

        reports for Fusion over the course of several months in 2016. Eventually, the reports,

        including the false and defamatory report at the heart of this case, were assembled in the

        document that has come to be known to the public as the Trump Dossier.

               6.      Steele has acknowledged that his reports are unverified "raw intelligence"

        and has refused to identify his alleged "sources." Indeed, the report at the heart of this

        case, CIR 112, has never been verified and none of its sources has ever been publicly

        identified. Defendants recklessly placed the Dossier's allegations of misconduct,

        inclugin criminal action, by Plaintiffs beyond Defendants' control - which allowed those

        allegations to get into the hands of media devoted to breaking news on the hottest

        subjects of the day: the Trump candidacy and his election as President.

               7.      CIR 112, dated September 14, 2016, falsely accuses the Plaintiffs of

        criminal bribery in the 1990s, of an inappropriate relationship with Vladimir Putin over

        the course of decades, and of participation in an alleged Trump-Russia scheme to

        influence the 2016 U.S. presidential election. At all relevant times Defendants were

        aware that they had not verified the contents of CIR 112 and that its content was provided

        by sources who would remain unidentified - whose credibility could therefore not be

        assessed by a reader of the Dossier. Defendants could easily have removed that report

        from the Dossier before they delivered it to their client, and before they and their client

        Fusion started peddling it to media and journalists in September and October 2016. They

        chose not to do so. Nor did they attempt to determine the veracity of that report with the

        Plaintiffs themselves.



                                                     -4-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 37 of
                                     118




               8.      At all times during the Defendants' engagement by Fusion, it was either

        intended or clearly foreseeable that if the Dossier's contents, including CIR 112, were

        made available to third parties, including journalists, such provocative material would be

        published and republished, including to the public at large. Indeed, that is the entire

        purpose of "oppo research" in American politics. Those third parties included

        government officials, persons with governmental positions who were acting in a private

        capacity, as well as news media and journalists who could make its content public.

               9.      On information and belief, Fusion arranged for Defendant Steele to brief

        selected members of the print and online media about the information he was compiling

        on candidate Trump and his campaign. Consistent with the intended purpose of - oppo

        research" to publicly discredit its target, Steele's briefings were designed to generate

        interest in the Dossier and secure eventual public dissemination of its content. At least

        some of the briefings Steele personally provided were held in late summer, 2016, in

        Washington D.C. at the Tabard Inn, and attendees included The New Yorker reporter Jane

        Mayer.' Briefings were also held for journalists from the New York Times, the

        Washington Post, CNN, Yahoo News, and others in September 2016. The New York

        Times, The Washington Post, and Yahoo News were given a second briefing.2 Shortly

        thereafter, Yahoo News published an article by Michael Isikoff that described some of the

        content of the Dossier (referred to there as "intelligence reports" and "reports"), which

        I Jane Mayer, Christopher Steele, the Man Behind the Trump Dossier, THE NEW YORKER,
        March 12, 2018, available at https://www.newyorker.com/magazine/2018/03/12/christopher-
        steele-the-man-behind-the-trump-dossier.
        2 Defendants' Response to Claimants Request For Information. Gubarev, et al. v. Orbis Business
        Intelligence Limited and Christopher Steele, Claim No. HQ1700413, In the High Court of Justice,
        Queens Bench Division, May 18, 2017, at 8 ("The Orbis/Steele Response").

                                                      -5-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 38 of
                                     118




        was still being compiled at that time.3 Many other media articles reported speculative

        accounts of the Dossier's existence and contents. In late October 2016, Defendant Steele

        gave an interview to David Corn, a writer for Mother Jones magazine, which, on October

        31, 2016, published an article by Corn headlined "A Veteran Spy Has Given The FBI

        Information Alleging a Russian Operation to Cultivate Donald Trump."4 Corn's article

        stated that he had "reviewed" the early reports in the Dossier, and then quoted from those

        reports as well as statements made by Steele in the interview. The publication to third

        parties and public dissemination of the Dossier's content had begun in earnest.

               10.      In addition to cultivating media interest, the Defendants also arranged and

        participated in a meeting in Great Britain between Defendant Steele and David Kramer,

        who held no public office but was the director of a private foundation affiliated with U.S.

        Senator John McCain. A purpose of that meeting was to show Kramer the content of the

        sixteen pre-election reports in the Dossier so he could brief Senator McCain, who at the

        time was a well-known and outspoken critic of Trump's candidacy. Subsequently, in

        November 2016, Orbis and Steele arranged for a copy of all sixteen of the Dossier's then

        existing reports to be provided to Kramer in D.C. by Fusion—for redelivery and further




        3 Michael Isikoff, U.S. intel officials probe ties between Trump advisor and Kremlin, YAHOO
        NEWS, Sept. 23, 2016, available at https://www.yahoo.com/news/u-s-intel-officials-probe-ties-
        between-trump-adviser-and-kremlin-175046002.html.
        4  David Corn, A Veteran Spy Has Given the FBI Information Alleging a Russian Operation to
        Cultivate Donald Trump, MOTHER JONES, Oct. 31, 2016, available at
        https://www.motherjones.com/politics/2016/10/veteran-spy-gave-tbi-info-alleging-russian-
        operation-cultivate-donald-trump.

                                                       -6-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 39 of
                                     118




        publication to Senator McCain in D.C.—including the report (CIR 112) that falsely

        accuses and defames Plaintiffs.5

                  11.     In September, 2016, in a Washington D.C. hotel room, Steele met with

        Jonathan Winer—then an official in the State Department —and briefed him on the

        contents of the Dossier. Steele had a long history of supplying Winer with intelligence;

        between 2013 and 2016, Steele provided Winer with more than 100 reports, many of

        which Winer then shared with his colleagues in the State Department.° Steele also

        briefed a D.C. based official from the Department of Justice, Bruce Ohr.

                  12.     As the 2016 presidential election neared, both print and online media in

        the United States and abroad began to expand their coverage of the Dossier and its

        alleged content. That coverage only intensified after Trump won the election. On

        January 10, 2017, one of those media entities, BuzzFeed, Inc., published the entire

        Dossier on the Internet, describing it there as "explosive." The copy of the Dossier that

        BuzzFeed published included the false and defamatory allegations of CIR 112 about the

        Plaintiffs and Alfa, along with the article entitled "These Reports Allege Trump Has

        Deep Ties to Russia."' The Dossier misspells Alfa's name throughout, incorrectly

        spelling it as "Alpha." BuzzFeed's article did not mention CIR 112 or its allegations, but

        5   The Orbis/Steele Response, at 5-6.

        6 Jonathan M. Winer, Devin Nunes is Investigating Me.  Here's the Truth, THE WASHINGTON
        POST, February 8, 2018, available at https://www.washingtonpost.com/opinions/devin-nunes-is-
        investigating-me-heres-the-truth/2018/02/08/cc621170-0cf4-11e8-8b0d-
        891602206fb7_story html?utm_term=.81c6a33fccf4.

        7 Ken Bensinger, Miriam Elder, Mark Schoofs, These Reports Allege Trump Has Deep Ties To
        Russia, BUZZFEED NEWS, Jan. 10, 2017, available at
        https://www.buzzfeed.com/kenbensinger/these-reports-allege-trump-has-deep-ties-to-
        russia?utm_term=.is1Q2ka2J.


                                                       -7-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 40 of
                                     118




        focused instead on president-elect Trump and his alleged relationships with Russia,

        explaining that it "was publishing the full document so that Americans can make up their

        minds about allegations about the president-elect that have circulated at the highest levels

        of the U.S. government."8

                  13.   The Defendants intended, anticipated, or foresaw a high likelihood that

        providing third parties (like David Kramer, Senator McCain, and Jonathan Winer) and

        journalists with access to the Dossier's defamatory content would result in its

        republication by news media outlets, including online news media such as BuzzFeed.

                  14.   Plaintiffs seek an award of compensatory and punitive damages for the

        harm to their personal and professional reputations, current business interests, and the

        impairment of business opportunities that resulted from the blatantly false and

        defamatory statements and implications about them published recklessly to third parties

        by the Defendants and republished by BuzzFeed and countless other media around the

        world.

                                              THE PARTIES

                  15.   Plaintiffs Fridman, Aven. and Khan are ultimate beneficial owners of

        Alfa. Fridman and Khan are each citizens of both Russia and Israel, and Aven is a citizen

        of Russia. Plaintiffs are not widely known in the United States, had no role or

        involvement in any aspect of the 2016 U.S. presidential election, and made no public

        comments about it.




        8   Id.
                                                     -8-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 41 of
                                     118




                 16.     On information and belief, defendant Orbis is a private limited company

        headquartered in London, England. Orbis and Steele have had working relationships

        with Washington D.C.-based Fusion and Simpson for a number of years. In or about July

        of 2016, Orbis was engaged by and contracted with Fusion and Simpson to research and

        compile reports, on Trump/Russia relationships for delivery to Fusion in Washington,

        D.C., where Fusion would evaluate them and deliver them to its clients for their political

        purposes, including dissemination to government officials, journalists and news media in

        Washington D.C. and elsewhere to oppose the candidacy of Donald Trump in the 2016

        U.S. Presidential campaign.

                 17.     Defendant Christopher Steele, on information and belief, is a former

        British intelligence officer and a founder and a principal of Orbis. Over the years of their

        working relationship, defendant Steele was D.C.-based Fusion's contact at Orbis for

        engagements and was primarily responsible for researching and creating the Dossier to be

        provided to Fusion in D.C. for further dissemination here and elsewhere. Upon

        information and belief, as set forth above, Steele disseminated the defamatory material

        about Plaintiffs to journalists, including The Washington Post, Yahoo News and David

        Corn of Mother Jones magazine, and to third parties like David Kramer, Senator McCain,

        and Jonathan Winer, in Washington, D.C. in the fall of 2016. Mr. Winer recently stated

        publicly in an article in the Washington Post that after his 2013 return to the U.S. State

        Department, Steele provided him with more than 100 of his Russia-focused reports,

        which Winer shared with a senior State Department official.9


        9   Winer, supra. note 6.

                                                     -9-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 42 of
                                     118




                18.     Both Steele and Simpson used their prior experiences as an operative in

        British intelligence who had covered Russian matters (Steele) and as an investigative

        journalist for the Wall Street Journal (Simpson) to give their oppo research output a gloss

        of credibility and reliability which, in this case, was unwarranted.

                19.     Steele recently told a journalist that he did not interview his sources in

        Russia himself, but gathered his information through "paid collectors" and "subsources."

        And by Steele's own estimation, as much as 30% of the Dossier's content may not be

        "accurate."10

                                     JURISDICTION AND VENUE

                20.     This Court has personal jurisdiction over the Orbis defendants pursuant to

        Section 13-423 of the Code of the District of Columbia because Orbis and Steele

        transacted business in the District of Columbia. Defendants also caused tortious injury to

        Plaintiffs by acts and omissions within or directed to the District of Columbia (the

        "District"). Upon information and belief, in the District in the late summer and fall of

        2016, Orbis and Steele disseminated defamatory material to Fusion and to multiple

        journalists such as The Washington Post, David Corn (the District-based bureau chief of

        Mother Jones magazine) and Michael Isikoff of Yahoo News. At least one of the

        briefings at which Steele distributed defamatory material about Plaintiffs to journalists

        was held at the Tabard Inn in the District, including a briefing of The New Yorker




        I° Luke Harding, How Trump walked into Putin's web, THE GUARDIAN, Nov. 15, 2017,
        available at https://www.theguardian.corninews/2017/nov/15/how-trump-walked-into-putins-
        web-luke.

                                                     -10-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 43 of
                                     118




        reporter Jane Mayer." Steele also met with Jonathan Winer of the U.S. State Department

        at a hotel room in the District, and had discussions with District-based U.S. Department

        of Justice official Bruce Orh. In September, 2016, according to Winer, at the height of

        the presidential election campaign, Winer and Steele met in the District "and discussed

        the information now known as the 'dossier' so that Winer could "alert the State

        Department," which he did by preparing a "two page summary for a senior official" of

        the Department in the District. Finally, Steele authorized District-based Fusion GPS to

        provide a copy of his reports to David Kramer in the District for forwarding to Senator

        McCain, also in the District. In sum, Steele, acting for himself and Orbis, has engaged in

        a persistent course of conduct, often with Fusion and Simpson, intended to have and

        which did have effects in the District, by meeting with District based media and

        government employees to bring his reports on "Russia matters" to their attention. Those

        reports included the defamatory statements about Plaintiffs. From within and without the

        District, Steele's actions, on behalf of Orbis and himself, resulted in the tortious injury to

        Plaintiffs alleged herein, and have subjected him and Orbis to the personal jurisdiction of

        this Court.

                21.      In addition, Steele, on behalf of himself and Orbis, has engaged in other

        ongoing business relationships with entities located in the District. On information and

        belief, Steele and Orbis have been retained repeatedly by the District-based F.B.I to assist

        in various investigations between 2009 and 2016 and, as alleged above, Steele and Orbis

        have had an ongoing professional relationship with Fusion for years. And as also noted

        above, according to Winer, during his 2013-2016 employment at the State Department in

        I I Mayer, supra, at note 1.

                                                     -11-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 44 of
                                     118




        the District, Steele/Orbis provided over 100 intelligence reports, many of which Winer

        shared with other State Department officials.

                                      FACTUAL ALLEGATIONS

                22.    On information an belief, Orbis and Steele were engaged by Fusion during

        the 2016 U.S. presidential campaign to gather "oppo research," including compromising

        and salacious information about then presidential candidate Donald Trump. The scope of

        this engagement was not limited to Trump's business dealings in Russia, but also

        included the candidate's personal conduct. A significant purpose of this "research" was

        its ultimate intended use by Trump's political opponents to try to thwart his candidacy.

        Although Fusion had initially been hired by Republican opponents of Trump's candidacy,

        by the time Fusion engaged Orbis, Trump had secured the Republican nomination and the

        focus of opposition to Trump's candidacy had shifted to the Democrats. Fusion was

        engaged by Perkins Coie, a law firm with an office in D.C., in that firm's capacity as

        representing the Democratic National Committee (DNC) and HFACC, Inc., a campaign

        organization supporting Hillary Rodham Clinton's candidacy for President. Perkins Coie

        retained Fusion to provide such research services in April 2016, an engagement which

        continued until October 2016,12 and Fusion, in turn, retained Defendants to carry out that

        task.




        12 Adam Entous, Devlin Barrett, Rosalind S. Helderman, Clinton campaign, DNCpaidfor
        research that led to Russia dossier, THE WASHINGTON POST, Oct. 24, 2017, available at https://
        www.washingtonpost.com/world/national-security/clinton-campaign-dnc-paid-for-
        research-that-led-to-russia-dossier/2017/10/24/226fabf0-b8e4-11e7-a908-
        a3470754bbb9_story.html?utm_term=.897b43950afc.

                                                     -12-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 45 of
                                     118




                 23.     On information and belief, the Orbis Defendants and Fusion

       communicated with one another to initiate and perform that engagement via postal or

       communicated with one another to initiate and perform that engagement via postal or

       courier services, email, facsimile, interne audio or video services and/or telephone calls

       between Washington, D.C. and London, England. Orbis and Steele also acted directly in

       the District, including in joint meetings to brief members of the news media.

                 24.     The Orbis Defendants proceeded to research Trump's personal behavior in

       Russia and business dealings with Russian government officials, business leaders, and

       business entities. Steele compiled the "investigative" results into at least seventeen

       written CIRs for delivery to Fusion in Washington, D.C. By Steele's own description,

       the CIRs were "raw intelligence" containing unverified information from sources he did

       not personally interview." The CIRs produced between June 2016 and the end of

       October 2016 (including CIR 112) were provided and thus published to Fusion, and, in

       turn, to lawyers at Perkins Coie and their clients at the DNC and HFACC.

                 25.     After Trump received the Republican nomination for President in July

       2016, many media reports subsequently surfaced asserting, correctly, that Fusion had

       entered into an engagement with Democratic Party operatives interested in using oppo

       research to support Hillary Clinton's candidacy. These media reports vastly increased

       other media's and the public's interest in the content of the Dossier.

                 26.     In the late Summer or early Fall of 2016, defendant Steele, acting on

       behalf of Orbis, personally provided briefings on the content of the Dossier he and Orbis

       had prepared to a select group of journalists in the United States. Those journalists

       13   The Orbis/Steele Response, at 7, #17.
                                                     -13-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 46 of
                                     118




        included D.C.-based David Corn of Mother Jones magazine. Mother Jones then

        published an article by Mr. Corn about the existence, purpose, and content of the Dossier

        based on Steele's briefing to Corn and the author's review of the oppo research made

        available to him by Steele.

               27.     Steele has admitted that, through a D.C. based intermediary who was not a

        government official, David E. Kramer, he provided the oppo research in the Dossier to

        Senator John McCain of Arizona, an outspoken political opponent of Donald Trump's

        candidacy.

               28.     As they performed their work for Fusion's clients, the Orbis Defendants

        knew, anticipated or reasonably should have foreseen that, once in the hands of third

        parties such as David Kramer, Senator McCain, journalists like Michael Isikoff and

        David Corn, Perkins Coie, the political operatives at the DNC and HFACC, and their

        media contacts, the CIRs would be further disseminated publicly. Such further

        dissemination would inevitably foster widespread discussion about the CIRs in the

        United States. That is exactly what happened. Much of the ensuing media attention and

        public discussion focused on Orbis' and Steele's roles in the creation and dissemination

        of the Dossier, and the interviews solicited by them.

               29.     Upon information and belief, during this campaign to promote the public

        dissemination of their oppo research, Orbis and Steele provided background briefings to

        the media without attribution. During those briefings, Defendants never vouched for the

        credibility of their sources or the accuracy and reliability of the content of the Dossier

        and/or of CIR 112 specifically.



                                                     -14-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 47 of
                                     118




               30.     Despite the fact that they did not know the unverified, anonymous,

        inherently harmful accusations in CIR 112 about Plaintiffs to be true, Defendants

        intentionally published CIR 112 [along with the other reports in the Dossier] to Fusion,

        David Kramer, and John McCain, and foresaw (or reasonably should have foreseen) that

        it would then be republished to (1) Perkins Coie; (2) Perkins Coie's clients (the DNC and

        the HFACC); (3) employees of the DNC and the HFACC; and (4) journalists and media.

        Elements of the Dossier, possibly including CIR112, may have been published even more

        extensively by being made available for viewing during arranged briefings of certain

        journalists by Defendant Steele. Worldwide publication of the entire Dossier, whether by

        BuzzFeed or anyone else, was inevitable after these reckless actions by Defendants.

               31.     CIR 112 specifically discusses the Plaintiffs. Its heading, "RUSSIA/US

        PRESIDENTIAL ELECTION: KREMLIN-ALPHA GROUP CO-OPERATION," is

        defamatory in the Trump/Russia context of the entire Dossier, as this heading suggests

        that Alfa and its executives, including the Plaintiffs, cooperated in the alleged Kremlin-

        orchestrated campaign to interfere in the 2016 U.S. presidential election—the overriding

        focus of Steele's reports. This is a plausible and, indeed, inescapable inference a

        reasonable reader would draw from the heading of CIR 112, both because of its own

        content and based on the headings of fifteen of the sixteen other CIRs that Defendants

        dated and/or published before the end of October 2016. The Dossier's headings, as

        sequenced in the Dossier, are as follows:




                                                    -15-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 48 of
                                     118




        US PRESIDENTIAL ELECTION: REPUBLICAN CANDIDATE DONALD
        TRUMP'S ACTIVITIES IN RUSSIA AND COMPROMISING RELATIONSHIP
        WITH THE KREMLIN (CIR 80 — JUNE 20, 2016)

        RUSSIA/US PRESIDENTIAL ELECTION: FURTHER INDICATIONS OF
        EXTENSIVE CONSPIRACY BETWEEN TRUMP'S CAMPAIGN TEAM AND
        THE KREMLIN ( CIR 95 — UNDATED)

        RUSSIA: SECRET KREMLIN MEETINGS ATTENDED BY TRUMP ADVISOR,
        CARTER PAGE IN MOSCOW (JULY 2016) (CIR 94 — JULY 19, 2016)

        RUSSIA-US PRESIDENTIAL ELECTION: KREMLIN CONCERN THAT
        POLITICAL FALLOUT FROM DNC E-MAIL HACKING AFFAIR
        SPIRALLING [sic] OUT OF CONTROL (CIR 97 — JULY 30, 2016)

        RUSSIA/USA: GROWING BACKLASH IN KREMLIN TO DNC HACKING AND
        TRUMP SUPPORT OPERATIONS (CIR 100 - AUGUST 5, 2016)

        RUSSIA/US PRESIDENTIAL ELECTION: SENIOR KREMLIN FIGURE
        OUTLINES EVOLVING RUSSIAN TACTICS IN PRO-TRUMP. ANTI-CLINTON
        OPERATION (CIR 101 — AUGUST 10, 2016)

        RUSSIA/US PRESIDENTIAL ELECTION: REACTION IN TRUMP CAMP TO
        RECENT NEGATIVE PUBLICITY ABOUT RUSSIAN INTERFERENCE AND
        LIKELY RESULTING TACTICS GOING FORWARD (CIR 102 — AUGUST 10,
        2016)

        RUSSIA/US PRESIDENTIAL ELECTION: FURTHER DETAILS OF 'TRUMP
        LAWYER COHEN'S SECRET LIAISON WITH THE KREMLIN (CIR 136 —
        OCTOBER 20, 2016)

         RUSSIA/UKRAINE: THE DEMISE OF TRUMP'S CAMPAIGN MANAGER
         PAUL MANAFORT (CIR 105 — AUGUST 22, 2016)

        RUSSIA/US: KREMLIN FALLOUT FROM MEDIA EXPOSURE OF
        MOSCOW'S INTERFERENCE IN THE US PRESIDENTIAL CAMPAIGN (CIR
        111— SEPTEMBER 14, 2016)

        RUSSIA/US PRESIDENTIAL ELECTION: KREMLIN-ALPHA GROUP CO-
        OPERATION (CIR 112 — SEPTEMBER 14, 2016)

        RUSSIA/US PRESIDENTIAL ELECTION- REPUBLICAN CANDIDATE
        TRUMP'S PRIOR ACTIVITIES IN ST. PETERSBURG (CIR 113 — SEPTEMBER
        14, 2016)


                                        -16-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 49 of
                                     118




        RUSSIA: KREMLIN ASSESSMENT OF TRUMP AND RUSSIA INTERFER-
        ENCE IN US PRESIDENTIAL ELECTION (CIR 130 — OCTOBER 12, 2016)

        RUSSIA/US PRESIDENTIAL ELECTION: FURTHER DETAILS OF KREMLIN
        LIAISON WITH TRUMP CAMPAIGN (CIR 134 — OCTOBER 18, 2016)

        RUSSIA/US PRESIDENTIAL ELECTION: THE IMPORTANT ROLE OF
        TRUMP LAWYER, COHEN IN CAMPAIGN'S SECRET LIAISON WITH THE
        KREMLIN (CIR 135 — OCTOBER 19, 2016)

               32.     CIR 112 , in sections labeled "Summary" and "Detail," makes a series of

        factual allegations about the "current closeness" of an "Alpha Group-PUTIN

        relationship," including the allegations that "[s]ignificant favors continue to be done in

        both directions" and that "FRIDMAN and AVEN [are] still giving informal advice to

        PUTIN, especially on the US."

               33.     The Summary section of CIR 112 identifies a former employee of Alfa,

        Oleg Govorun, who is now the head of a government department in Putin's

        administration, as a "key intermediary" in the "PUTIN-Alpha relationship." CIR 112

        alleges that Govorun "delivered illicit cash directly to PUTIN" "throughout the 1990s,"

        when Govorun was an "Alpha executive" and Putin was the Deputy Mayor of St.

        Petersburg.

               34.     The first paragraph of the Detail section of CIR 112 states the full names

        of Plaintiffs Fridman, Aven, and Khan. It then includes a report from an unnamed

        "Russian government official:"

                       although they had [sic] had their ups and downs, the
                       leading figures in Alpha currently were on very good terms
                       with PUTIN. Significant favours continued to be done in
                       both directions, primarily political ones for PUTIN and
                       business/legal ones for Alpha. Also, FRIDMAN and
                       AVEN continued to give informal advice to PUTIN on


                                                    -17-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 50 of
                                     118




                         foreign policy, and especially about the US where he
                         distrusted advice being given him by officials.

               35.       Under any reasonable reading of CIR 112, alone, and in the context of the

        full Dossier and the headings of sixteen of its seventeen CIRs ("the Trump/Russia

        context"), Plaintiffs Fridman, Aven, and Khan, along with Alfa, are alleged to maintain a

        highly inappropriate, and even criminal, relationship with Putin, based on criminal

        interaction dating back to the 1990s. By clear and defamatory implication, CIR 112

        purports to tie the Plaintiffs to a Kremlin-orchestrated campaign to interfere in the 2016

        U.S. election.

               36.       The second paragraph of the Detail section alleges that Mr. Fridman

        "recently met directly with PUTIN" and that "much of the dialogue and business between

        them was mediated" by Govorun, the former Alfa employee. The paragraph describes

        Govorun as a "senior Presidential Administration official" who is "trusted by PUTIN:"

                         during the 1990s GOVORUN had been Head of
                         Government Relations at Alpha Group and in reality the
                         "driver" and "bag carrier" used by FRIDMAN and AVEN
                         to deliver large amounts of illicit cash to the Russian
                         president, at that time deputy Mayor of St. Petersburg.
                         Given that and the continuing sensitivity of the PUTIN-
                         Alpha relationship, and need for plausible deniability,
                         much of the contact between them was now indirect and
                         entrusted to the relatively low profile GOVORUN.

               37.       These allegations are false. And their defamatory nature, even when read

        alone, is clear: CIR 112 alleges that, in the 1990s, Alfa (a member of "Alpha Group")

        and two of its largest beneficial owners purportedly engaged in acts of criminal bribery

        by arranging for the "deliver[y] of large amounts of illicit cash" to Putin to secure

        favorable business treatment from him in his role as a public offical. Moreover, Oleg


                                                    -18-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 51 of
                                     118




        Govorun was not even employed by Alfa Bank until after Mr. Putin left St. Petersburg to

       join the Yeltsin administration in Moscow.

               38.     Those statements, on their own, and especially when considered in the

       Trump/Russia context of the Dossier as a whole, are defamatory. They imply that the

       alleged improper relationship between Alfa, the Plaintiffs, and Putin, which purportedly

       started in the 1990s, is ongoing. They also imply the fabrication that Govorun, the alleged

       "bag carrier" of the 1990s, who is now a senior official in Putin's administration, serves

       as the trusted intermediary between the Plaintiffs and Putin, including in connection with

        Plaintiffs' alleged involvement in Russia's interference in the U.S. election.

               39.     The third paragraph of the Detail section characterizes the "PUTIN-Alpha

        relationship as both a carrot and stick:"

                       Alpha held `kompromae on PUTIN and his corrupt
                       business activities from the 1990s whilst although not
                       personally overly bothered by Alpha's failure to reinvest
                       the proceeds of its TNK oil company sales into the Russian
                       economy since, the Russian president was able to use
                       pressure on this count from senior Kremlin colleagues as a
                       lever on FRIDMAN and AVEN to make them do his
                       political bidding.

               40.     This passage is defamatory in several ways. Read in the context of the

        Dossier's Trump/Russia theme. it suggests that Plaintiffs Fridman and Aven use their

        knowledge of past bribery of Putin—"kompromat"—as a means of criminally extorting

        favorable treatment for their business interests from his government. In the context of the

        other allegations, this passage also implies that Alfa and two of its largest beneficial

        owners, Plaintiffs Fridman and Aven, willingly maintain a close relationship with Putin

        and cooperated in some unspecified way in the Kremlin's alleged campaign to interfere


                                                     -19-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 52 of
                                     118




        in the U.S. election in an effort to avoid retribution from Putin for not reinvesting

        business proceeds in Russia.

                41.    The statements about the Plaintiffs in the context of the Dossier as a whole

        are false, defamatory, and gravely damaging. The statements in the Detail section of CIR

        112 about Plaintiffs allege a criminal relationship with Mr. Putin in the 1990s. Even if

        considered independently, these statements raise substantial questions about why these

        almost twenty-year-old allegations were included by Defendants in a Dossier of "oppo

        research" about Donald Trump. The statements of CIR 112, published in an unverified

        report attributed to an anonymous "top level Russian official" of unknown credibility or

        existence, raise a clear and plausible inference of reckless disregard of truth or falsity by

        Defendants.

                                           CAUSE OF ACTION

               42.     Plaintiffs repeat and reallege paragraphs 1-41 above.

               43.      By their direct and intentional publication to third parties such as clients,

        news media, journalists, and others, and by the foreseeable republication of the Dossier

        and CIR 112 by someone in that group, the Defendants published to a worldwide public

        false and defamatory statements concerning Plaintiffs and Alfa, including that:

                       (a)     they are implicated in the scandalous allegations involving Russia

               and President Trump referred to in the heading of CIR 112 and the other CIRs in

               the Dossier;

                       (b)     they and other officials and employees of Alfa "cooperated" with

               an alleged Kremlin campaign to interfere in the U.S. presidential election;


                                                     -20-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 53 of
                                     118




                         (c)     they are parties to a highly inappropriate, and even criminal,

                relationship with Vladimir Putin;

                         (d)     they engaged in acts of criminal bribery of Vladimir Putin in the

                1990s, then the Deputy Mayor of St. Petersburg, to secure favorable business

                treatment; and

                         (e)     they continue to use their knowledge of past bribery of Putin as a

                means of criminally extorting continuing favorable treatment for their business

                interests from the Putin government.

                44.      Readers of the CIRs and the Dossier were also led to understand,

        incorrectly, that as a result of the Plaintiffs' alleged past—and current—close

        relationships and corrupt dealings with Mr. Putin, the Plaintiffs and Alfa were and are

        required to do Putin's bidding, including by cooperating in the Kremlin's alleged efforts

        to influence the outcome of the recent U.S. presidential election.

                45.      The false statements by the Defendants referred to above defamed the

        Plaintiffs and Alfa, and have caused and will continue to cause serious injury to their

        personal, professional, and institutional reputations.

                46.      The false and defamatory statements published and republished by the

        Defendants concerning the Plaintiffs and Alfa, as well as the obvious implications of

        those statements, were made negligently or with reckless disregard of whether they were

        true or false.

                47.      Defendants are liable for the defamation of Plaintiffs and Alfa, and the

        resulting harm caused by the news media coverage of the Dossier, including the

        republication by BuzzFeed and countless other media.

                                                      -21-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 54 of
                                     118




               JURY TRIAL DEMANDED

               Plaintiffs hereby demand a trial by jury on all issues so triable.


               WHEREFORE, Plaintiffs Mikhail Fridman, Petr Aven, and German Khan

        demand judgment against Defendants Orbis and Steele for:

               a.      compensatory damages in an amount to be proved at trial, together with

        interest and the costs and disbursements of this action, plus reasonable attorneys' fees;

               b.      punitive damages in an amount to be determined at trial; and

               c.      such other and further relief as this Court may deem just and proper.

        Dated: Washington, D.C.
               April 16, 2018

                                              By:      /s/ Kim Hoyt Sperduto
                                                      Kim Hoyt Sperduto
                                                      DC Bar No. 416127

                                                      SPERDUTO THOMPSON PLC
                                                      1133 Twentieth Street, N.W.
                                                      Second Floor
                                                      Washington, D.C. 20036
                                                      202-408-8900
                                                      202-408-8910 (t)
                                                      ksperduto@sperdutothompson.com

                                                      Alan S. Lewis
                                                      John J. Walsh
                                                      CARTER LEDYARD & MILBURN LLP
                                                      2 Wall Street
                                                      New York, NY 10005
                                                      Telephone: 212-238-8647
                                                      lewis@clm.com

                                                      Counselfor Plaintiffs
                                                       Mikhail Fridman, et al.



                                                    -22-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 55 of
                                               118
                           Superior Court of the District of Columbia
                                          CIVIL DIVISION
                                        Civil Actions Branch
                    500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001
                         Telephone: (202) 879-1133 Website: www.dccourts.gov

    Mikhail Fridman, et al.
                                                                        Plaintiff
                                           VS.                                                                         XX-XXXXXXX
                                                                                                          Case Number
    Orbis Business Intelligence Limited
                                                                       Defendant

                                                                      SUMMONS
 To the above named Defendant:

         You are hereby summoned and required to serve an Answer to the attached Complaint, either
 personally or through an attorney, within twenty one (21) days after service of this summons upon you,
 exclusive of the day of service. If you are being sued as an officer or agency of the United States Government
 or the District of Columbia Government. you have sixty (60) days after service of this summons to serve your
 Answer. A copy of the Answer must be mailed to the attorney for the plaintiff who is suing you. The
 attorney's name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
 to the plaintiff at the address stated on this Summons.

         You are also required to tile the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
 N. W., between 6:3U a.m. and 5:uu p.m., Mondays through r ridays or between 9:UV a.m. and 12:0V noon on
 Saturdays. You may tile the original Answer with the Court either before you serve a copy of the Answer on
 the plaintiff or within seven (7) days after you have served the plaintiff. If you fail to file an Answer,
 judgment by default may be entered against you for the relief demanded in the complaint:

Kim Sperduto                                                                                      Clerk ()likerc•
                                                                                                                       .
Name of Plaintiff's Attorney
                                                                                                                   4
Sperduto Thompson PLC                                                                                             4.
                                                                                    By
Address                                                                                             1,:t Apt
 t33 20ili St. NW. Sre:Itrl Flour. IV;ishint.zzon. D.C. _inn:;'                                       ,
209- 408 — 8900                                                                     Date                          ZO       v.::.••••••
Telephone
                                                                                                                                    •
PoMna.iff11-Egg (202) 879-4828                   Veuillez appeler au (202) 879-4828 pour une traduction       De c6 mOrbai         hay•gui (202) 879-4828
tsto/Ntipie,(202)879-4828,E f.J%-4•40032.                  Vha/c1V 4.c?•9. AdVIVI• (202) 879-4828     g. etp-A.



  IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITHIN TILE TIME STATED ABOVE, OR IF, AFTER YOU
ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAULT
MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEMANDED IN THE
COMPLAINT. IF THIS OCCURS, YOUR WAGES MAY BE ATTACHED OR WITHHELD OR PERSONAL PROPERTY OR
REAL ESTATE YOU OWN MAY BE TAKEN AND SOLD TO PAY THE JUDGMENT. IF YOU INTEND TO OPPOSE THIS
ACTION DO NOT FAIL TO ANSWER WITHIN THE REQUIRED TIME.

   if you wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer. promptly contact one of the offices of the
Legal Aid Society (202-628-1161) or the Neighborhood Legal Services (202-279-5100) for help or come to Suite 5000 at 500
Indiana Avenue, N.W., for more information concerning places where you may ask for such help.

                                                         Sec reverse side for Spanish translation
                                                          Vea al dorso la traduccion al esparlol
     Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 56 of
                                          118
        4
                                          TRIBUNAL SUPERIOR DEL DISTRITO DE COLUMBIA
                                                           DIVISION CIVIL
                                                     Seccion de Acciones Civiles
                                               500 Indiana Avenue, N.W., Suite 5000, Washington, D.C. 20001
                                                      Telefono: (202) 879-1133 Sitio web: www.dccourts.gov




                                                                     Demandante
                                           contra
                                                                                                   Numero de Caso:

                                                                      Demandado

                                                                     CITATORIO
       Al susodicho Demandado:
                Por la presente se le cita a comparecer y se le require entregar una Contestacion a is Demanda adjunta, sea en
       persona o por medio de un abogado, en el plazo de veintitan (21) dias contados despues que usted haya recibido este
       citatorio, excluyendo el dia mismo de la entrega del citatorio. Si usted esta siendo demandado en calidad de oticial o
       agente del Gobierno de los Estados Unidos de Norteamerica o dcl Gobierno dcl Distrito dc Columbia, tienc usted
       sesenta (60) dias. contados despues que usted haya recibido este citatorio. para entregar su Contestacion. Ilene que
       enviarle por correo una copia de su Contestacion al abogado de la parte demandante. El nombre y direccion del
       abogado aparecen al final de este documento. Si el demandado no tiene abogado, tiene que enviarle al demandante una
       copia de la Coniestacion por correo a la direccion que aparece en este t_ ttaturio.

                A usted tambien se le require presentar la Contestacion original al Tribunal en la Oficina 5000, silo en 500
       Indiana Avenue. N.W., entre las 8:30 a m. y 5:00 p.m.. de tunes a viernes o entre las 9:00 a.m. y las 12:00 del mediodia
       los sitbados. Usted puede presentar la Contestacion original ante el Juez ya sea antes que usted le entregue al
       demandante una copia de la Contestacion o en el plazo de siete (7) dias de haberle hecho la entrega al demandante. Si
       usted incumple con presentar una Contestacien, podria dictarse un fallo en rcbeldia contra usted para que se haga
       efectivo el desagravio que se busca en la demanda.
                                                                             SECRETARIO DEL TRIBUNAL
      Nombre dcl abogado del Demandante

                                                                                  Por:
      Direccion                                                                                                Subsecretario


                                                                                  Fccha
      Telefono
      161/1111a.i7Ef *it (202) 879-4828       Veuillez appeler au (202) 879-4828 pour une traduction         co mOt hai dick hk 4o1 (202) 879-4828
                     tigliWA.1141a1(202)879-4828 E.J4W-41144ga              VridicT         nartv:I. (202) 879-4828      x,x4)-A.

        IMPORTANTE: Si USTED INCUMPLE CON PRESENTAR UNA CONTESTACION EN EL PLAZO ANTES
      MENCIONADO 0, SI LUEGO DE CONTESTAR. USTED NO COMPARECE CUANDO LE AVISE EL JUZGADO, PODRIA
      DICTARSE UN FALLO EN REBELDIA CONTRA USTED PARA QUE SE LE COBRE LOS DASIOS Y PERJUICIOS U OTRO
      DESAGRAVIO QUE SE BUSQUE EN LA DEMANDA. SI ESTO OCURRE, PODRIA RETENERSELE SUS INGRESOS, 0
      PODRIA TOMARSELE SUS BIENES PERSONALES 0 BIENES RA10ES Y SER VENDIDOS PARA PAGAR EL FALLO. Si
      USTED PRETENDE OPONERSE A ESTA ACCION, NO DEJE DE CONTESTAR LA DEAL4NDA DENTRO DEL PLAZO
      EXIGIDO.

         Si desea conversar con un abogado y lc parece que no puede pagarlc a uno, Ilame pronto a una de nuestras oficinas del Legal Aid
      Society (202-628-1161) o el Neighborhood Legal Services (202-279-5100) para pedir ayuda o venga a la Oficina 5000 del 500
      Indiana Avenue. N.W., para informarse sobre otros lugares donde puede pedirayuda al respecto.

                                                           Vea al dorso el original en ingles
                                                          See reverse side for English original
CV-3110 [Rev. June 2017]                                                                                                  Super. Ct. Civ. R. 4
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 57 of
                                            118
                          Superior Court of the District of Columbia
                                        CIVIL DIVISION
                                      Civil Actions Branch
                    500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001
                                     Telephone: (202) 879-1133 Website: www.dccourts.gov

    Mikhail Fridman, et al.
                                                                 Plaintiff
                                    vs.
                                                                                                        18    - 0 0 0 2667
                                                                                                  Case Number
   Christopher Steele
                                                                Defendant

                                                               SUMMONS
 To the above named Defendant:

         You are hereby summoned and required to serve an Answer to the attached Complaint, either
 personally or through an attorney, within twenty one (21) days after service of this summons upon you,
 exclusive of the day of service. If you are being sued as an officer or agency of the United States Government
 or the District of Columbia Government. you have sixty (60) days after service of this summons to serve your
 Answer. A copy of the Answer must be mailed to the attorney for the plaintiff who is suing you. The
 attorney's name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
 to the plaintiff at the address stated on this Summons.

         You are also required to tile the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
  N.W., between 6:30 a.m. and 5:du p.m., Nlondays tnrougn irtdays or between 9:UU a.m. and i 2:UU noon on
  Saturdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
 the plaintiff or within seven (7) days after you have served the plaintiff. 11.4.ou-fail.,to file an Answer,
 judgment by default may be entered against you for the relief demanded in the co4fairnt,
                                                                                                   T• ,•••"
Kim Sperduto                                                                              040057•
                                                                                               • theivret)•
Name of Plaintiffs Attorney
Sperduto Thompson PLC                                                        By
Address
1133 20111 St. NW.        Floor,             D.C. .20f):::
                                                                                                             ee• S,..
909- 4 O k - 8900                                                                             1 eiti2DIE                     :. .,,c_f
                                                                             Date
                                                                                                    .,,,,,...., .          /„,
Telephone
Po Migia.iiitfEtig (202) 879-4828         veoilez appeler au (202) 879-4828 pour one traduction       D41 có i717WrirtriAhlf gilm (202)879-4828
Idelik Vi}APO, (202) 879-48282.11-114P.             s'h.vOlt 41:7•9n narnl. (202) 879-4828    g,eco*


  IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITI UN THE TIME STATED ABOVE, OR IF, AFTER YOU
ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAULT
MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER' RELIEF DEMANDED IN THE
COMPLAINT. IF THIS OCCURS. YOUR WAGES MAY BE ATTACHED OR WITHHELD OR PERSONAL PROPERTY OR
REAL ESTATE YOU OWN MAY BE TAKEN AND SOLD TO PAY THE JUDGMENT. IF YOU INTEND TO OPPOSE THIS
ACTION. DO NOTFAIL TO ANSWER WITHIN THE REQUIRED TIME.

   If you wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer, promptly contact one of the offices of the
Legal Aid Society (202-628-1161) or the Neighborhood Legal Services (202-279-5100) for help or come to Suite 5000 at 500
Indiana Avenue, N.W., for more information concerning places where you may ask for such help.

                                                  See reverse side for Spanish translation
                                                   Vea al dorso la traduccion al espaliol
      Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 58 of
                                           118


                                        TRIBUNAL SUPERIOR DEL DISTRITO DE COLUMBIA
                                                         DIVISION CIVIL
                                                   Seccion de Acciones Civiles
                                            500 Indiana Avenue, N.W., Suite 5000, Washington, D.C. 20001
                                                   Telefono: (202) 879-1133 Sitio web: www.dccourts.gov




                                                                      Demandante
                                        contra
                                                                                                        Numero de Caso:

                                                                      Demandado

                                                                      CITATORIO
       Al susodicho Demandado:
                Por la presente se le cite a comparecer y se le require entregar una Contestacion a la Demanda adjunta, sea en
       persona o por medio de un abogado, en el plazo de veintiun (2I) dies contados despues que Listed haya recibido este
       citatorio, excluyendo el dia mismo de la entrega del citatorio. Si usted esta siendo demandado en calidad de official o
       agente del Gobierno de los Estados Unidos de Norteamerica o del Gobierno del Distrito de Columbia, tienc usted
       sesenta (60) dies. contados despues que usted haya recibido este citatorio. para entregar su Contestacion. Tiene que
       enviarle por correo una copia de su Contestacion al abogado de la parte demandante. El nombre y direccion del
       abogado aparecen al final de este documento. Si el demandado no tiene abogado. tiene que enviarle al demandante una
       copia de la Contestacion por correo a la direccion que aparece en este C axon°.

                A usted tambien se le require presenter la Contested& original al Tribunal en la Oficina 5000, sito en 500
       Indiana Avenue. N.W., entre las 8:30 a.m. y 5:00 p.m.. de tunes a viemes o entre las 9:00 a.m. y las 12:00 del mediodia
       los sabados. Usted puede presenter la Contested& original ante el Juez ya sea antes que usted le entregue al
       demandante una copia de la Contested& o en el plazo de siete (7) dies de haberle hecho la entrega al demandante. Si
       Listed incumple con presenter una Contestacion, podria dietarse un fallo en rebeldia contra usted para que se haga
       efectivo el desagravio que se busca en la demanda.
                                                                                              SECRETARIO DEL TRIBUNAL
      Nombre dcl abogado del Demandante

                                                                                   Poor:
      Direecion                                                                                                   Suhsecretario


                                                                                   Fecha
      Telefono
      OXIIIR.illtTEgit (202) 879-4828       Veuillez appeler au (202) 879-4828 pour une traduction            Uc co mot bai dick lift> gol (202)879-4828
                   ttttfr:Vg'iqitt(202)879-4828   jr_141gir441,1.V,                        41:7 9n /tarry. (202) 879-4828   R..e.co-A•

        IMPORTANTE: SI USTED INCUMPLE CON PRESENTAR UNA CONTESTACION EN EL PLAZO ANTES
      MENCIONADO 0, SI LUEGO DE CONTESTAR. USTED NO COMPARECE CUANDO LE AVISE EL JUZGADO, PODRIA
      DICTARSE UN FALLO EN REBELDIA CONTRA USTED PARA QUE SE LE COBRE LOS DAFJOS Y PERJUICIOS U OTRO
      DESAGRAVIO QUE SE BUSQUE EN LA DEMANDA. SI ESTO OCURRE. PODRIA RETENERSELE SUS INGRESOS. 0
      PODRIA TOMARSELE SUS BIENES PERSONALES 0 BIENES RAICES Y SER VENDIDOS PARA PAGAR EL FALLO. SI
      USTED PRETENDE OPONERSE A ESTA ACCION, NO DEJE DE CONTESTAR LA DEMANDA DENTRO DEL PLAZO
      EXIGIDO.

         Si dcsea convcrsar con un abogado y lc parece que no puede pagarle a uno, Ilamc pronto a una de nuestras oficinas del Legal Aid
      Society (202-628-1161) o el Neighborhood Legal Services (202-279-5100) para pedir ayuda o venga a la Oficina 5000 del 500
      Indiana Avenue. N.W., para informarse sobre otros lugares donde puede pedirayuda al respecto.

                                                       Vea al dorso el original en ingles
                                                      See reverse side for English original
CV-3110 (Rev. June 2017]                                                                                                       Super. Ct. Civ. R. 4
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 59 of
                                     118
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 60 of
                                     118
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 61 of
                                     118
                                                                                          Filed
                                                                                          D.C. Superior Court
                                                                                          04/16/2018 14:43PM
                                                                                          Clerk of the Court


                      IN THE SUPERIOR COURT OF THE DISTRICT OF COLUMBIA

                                                CIVIL DIVISION

                                                             X

        MIKHAIL FRIDMAN, PETR AVEN, AND
        GERMAN KHAN,                                                           18 - 0 0 0 2 6 6 7
         do CARTER LEDYARD & MILBURN LLP                           2018 CA
        2 Wall Street
        New York, NY 10005,
                                                                   COMPLAINT
                                      Plaintiffs,

                       -v-

        ORBIS BUSINESS INTELLIGENCE LIMITED
        AND CHRISTOPHER STEELE,
        9-11 Grosvenor Gardens
        London SW I W OBD,

                                      Defendants.
                                                             X

                                           COMPLAINT
                                      (JURY TRIAL DEMANDED
                                           DEFAMATION)

               Plaintiffs Mikhail Fridman, Petr Aven, and German Khan, by their attorneys

        Carter Ledyard & Milburn LLP, allege as follows:

                                           INTRODUCTION

               1.      This is a defamation case brought by three international businessmen who

        were defamed in widely disseminated political opposition research reports commissioned

        by political opponents of candidate Donald Trump in the 2016 presidential election cycle.

        The reports (which came to be known as the "Trump Dossier," the "Steele Dossier" and

        simply as the "Dossier") were published both before and after the 2016 presidential

        election by Defendants Orbis Business Intelligence Limited ("Orbis") and Christopher
                                                    -1-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 62 of
                                     118




        Steele ("Steele" and, with Orbis, the "Orbis Defendants") pursuant to an engagement

        between Orbis and Fusion GPS ("Fusion")—a Washington, D.C. based firm specializing

        in political opposition research whose principal, Glenn Simpson ("Simpson"), is a former

        journalist. Fusion trafficked in procuring damaging information about political

        candidates from various sources, including willing suppliers of such information like

        Defendants. Defendants accepted this engagement by Fusion knowing it was intended to,

        and likely would, have profound effects in the United States, and specifically the District

        of Columbia, because the engagement was political opposition research intended to be

        used in connection with the election of the President of the United States.

               2.      One of the reports, written by Defendants and supplied to Fusion, is

        gravely damaging in that, directly or by implication from the rest of the Dossier, it falsely

        accuses the Plaintiffs—and Alfa ("Alfa"), a consortium in which the Plaintiffs are

        investors—of criminal conduct and alleged cooperation with the "Kremlin" to influence

        the 2016 presidential election. But neither the Plaintiffs nor Alfa committed any of the

        acts recklessly attributed to them by the Defendants. To the contrary, the Plaintiffs and

        Alfa are collateral damage in a U.S. political operation in which Defendants willingly and

        knowingly participated, whose focus was an alleged relationship (between the Kremlin

        and the Trump campaign) which has nothing whatsoever to do with the Plaintiffs.

               3.      The specific "report" that includes facially defamatory statements about

        the Plaintiffs is one of seventeen Company Intelligence Reports 2016 ("CIRs") authored

        by Defendants that comprise the Tnimp Dossier. The Defendants prepared Company

        Intelligence Report 112 (the "Report" or "CIR 112"), which makes statements about the

        Plaintiffs, for inclusion in the Trump Dossier, even though the Plaintiffs' past, current
                                                     -2-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 63 of
                                     118




        and intended future activities have nothing to do with the Dossier's intended subject

        matter and purpose. Broadly, the Dossier purports to describe details of an alleged

        scheme between the Russian government and the Trump presidential campaign to

        unlawfully manipulate the result of the 2016 U.S. presidential election in favor of

        candidate Trump.

               4.      The Defendants prepared CIR 112 as part of their engagement by Fusion

        to conduct "opposition research" (known as "oppo research" by its practitioners and the

        media) against Trump, even though its text, unlike that of the other reports, does not

        mention Trump or his campaign. Opposition research, in essence, is the gathering of

        information for the purpose of eventually discrediting or otherwise harming the

        candidacy of a candidate for a public office. Opposition research is neither objective nor

        neutral. Instead, it is skewed from the outset in favor of appearing to find negative

        information about individuals—the essence of the product that political opposition

        research practitioners such as the Defendants are hired to produce.

               5.        Fusion and Simpson were initially hired to conduct opposition research

        by Republican Party political opponents of candidate Trump during the primary phase of

        the 2016 election cycle. That engagement was terminated when it became clear that Mr.

        Trump would be the Republican nominee. At that point, Fusion and Simpson solicited

        and obtained an engagement with the Democratic National Committee and the campaign

        of candidate Hillary Clinton to gather discrediting information about Mr. Trump,

        including any connections he might have to Russian businesses or Russia's government.

        In connection with that engagement, Fusion hired Orbis and Steele, who promptly went

        to work on the project in June, 2016. Steele used his network of "paid collectors" who

                                                     -3-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 64 of
                                     118




        gathered information from "subsources" in Russia, which Steele compiled into written

        reports for Fusion over the course of several months in 2016. Eventually, the reports,

        including the false and defamatory report at the heart of this case, were assembled in the

        document that has come to be known to the public as the Trump Dossier.

               6.      Steele has acknowledged that his reports are unverified "raw intelligence"

        and has refused to identify his alleged "sources." Indeed, the report at the heart of this

        case, CIR 112, has never been verified and none of its sources has ever been publicly

        identified. Defendants recklessly placed the Dossier's allegations of misconduct,

        inclugin criminal action, by Plaintiffs beyond Defendants' control - which allowed those

        allegations to get into the hands of media devoted to breaking news on the hottest

        subjects of the day: the Trump candidacy and his election as President.

               7.      CIR 112, dated September 14, 2016, falsely accuses the Plaintiffs of

        criminal bribery in the 1990s, of an inappropriate relationship with Vladimir Putin over

        the course of decades, and of participation in an alleged Trump-Russia scheme to

        influence the 2016 U.S. presidential election. At all relevant times Defendants were

        aware that they had not verified the contents of CIR 112 and that its content was provided

        by sources who would remain unidentified - whose credibility could therefore not be

        assessed by a reader of the Dossier. Defendants could easily have removed that report

        from the Dossier before they delivered it to their client, and before they and their client

        Fusion started peddling it to media and journalists in September and October 2016. They

        chose not to do so. Nor did they attempt to determine the veracity of that report with the

        Plaintiffs themselves.



                                                     -4-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 65 of
                                     118




               8.      At all times during the Defendants' engagement by Fusion, it was either

        intended or clearly foreseeable that if the Dossier's contents, including CIR 112, were

        made available to third parties, including journalists, such provocative material would be

        published and republished, including to the public at large. Indeed, that is the entire

        purpose of "oppo research" in American politics. Those third parties included

        government officials, persons with governmental positions who were acting in a private

        capacity, as well as news media and journalists who could make its content public.

               9.      On information and belief, Fusion arranged for Defendant Steele to brief

        selected members of the print and online media about the information he was compiling

        on candidate Trump and his campaign. Consistent with the intended purpose of - oppo

        research" to publicly discredit its target, Steele's briefings were designed to generate

        interest in the Dossier and secure eventual public dissemination of its content. At least

        some of the briefings Steele personally provided were held in late summer, 2016, in

        Washington D.C. at the Tabard Inn, and attendees included The New Yorker reporter Jane

        Mayer.' Briefings were also held for journalists from the New York Times, the

        Washington Post, CNN, Yahoo News, and others in September 2016. The New York

        Times, The Washington Post, and Yahoo News were given a second briefing.2 Shortly

        thereafter, Yahoo News published an article by Michael Isikoff that described some of the

        content of the Dossier (referred to there as "intelligence reports" and "reports"), which

        I Jane Mayer, Christopher Steele, the Man Behind the Trump Dossier, THE NEW YORKER,
        March 12, 2018, available at https://www.newyorker.com/magazine/2018/03/12/christopher-
        steele-the-man-behind-the-trump-dossier.
        2 Defendants' Response to Claimants Request For Information. Gubarev, et al. v. Orbis Business
        Intelligence Limited and Christopher Steele, Claim No. HQ1700413, In the High Court of Justice,
        Queens Bench Division, May 18, 2017, at 8 ("The Orbis/Steele Response").

                                                      -5-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 66 of
                                     118




        was still being compiled at that time.3 Many other media articles reported speculative

        accounts of the Dossier's existence and contents. In late October 2016, Defendant Steele

        gave an interview to David Corn, a writer for Mother Jones magazine, which, on October

        31, 2016, published an article by Corn headlined "A Veteran Spy Has Given The FBI

        Information Alleging a Russian Operation to Cultivate Donald Trump."4 Corn's article

        stated that he had "reviewed" the early reports in the Dossier, and then quoted from those

        reports as well as statements made by Steele in the interview. The publication to third

        parties and public dissemination of the Dossier's content had begun in earnest.

               10.      In addition to cultivating media interest, the Defendants also arranged and

        participated in a meeting in Great Britain between Defendant Steele and David Kramer,

        who held no public office but was the director of a private foundation affiliated with U.S.

        Senator John McCain. A purpose of that meeting was to show Kramer the content of the

        sixteen pre-election reports in the Dossier so he could brief Senator McCain, who at the

        time was a well-known and outspoken critic of Trump's candidacy. Subsequently, in

        November 2016, Orbis and Steele arranged for a copy of all sixteen of the Dossier's then

        existing reports to be provided to Kramer in D.C. by Fusion—for redelivery and further




        3 Michael Isikoff, U.S. intel officials probe ties between Trump advisor and Kremlin, YAHOO
        NEWS, Sept. 23, 2016, available at https://www.yahoo.com/news/u-s-intel-officials-probe-ties-
        between-trump-adviser-and-kremlin-175046002.html.
        4  David Corn, A Veteran Spy Has Given the FBI Information Alleging a Russian Operation to
        Cultivate Donald Trump, MOTHER JONES, Oct. 31, 2016, available at
        https://www.motherjones.com/politics/2016/10/veteran-spy-gave-tbi-info-alleging-russian-
        operation-cultivate-donald-trump.

                                                       -6-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 67 of
                                     118




        publication to Senator McCain in D.C.—including the report (CIR 112) that falsely

        accuses and defames Plaintiffs.5

                  11.     In September, 2016, in a Washington D.C. hotel room, Steele met with

        Jonathan Winer—then an official in the State Department —and briefed him on the

        contents of the Dossier. Steele had a long history of supplying Winer with intelligence;

        between 2013 and 2016, Steele provided Winer with more than 100 reports, many of

        which Winer then shared with his colleagues in the State Department.° Steele also

        briefed a D.C. based official from the Department of Justice, Bruce Ohr.

                  12.     As the 2016 presidential election neared, both print and online media in

        the United States and abroad began to expand their coverage of the Dossier and its

        alleged content. That coverage only intensified after Trump won the election. On

        January 10, 2017, one of those media entities, BuzzFeed, Inc., published the entire

        Dossier on the Internet, describing it there as "explosive." The copy of the Dossier that

        BuzzFeed published included the false and defamatory allegations of CIR 112 about the

        Plaintiffs and Alfa, along with the article entitled "These Reports Allege Trump Has

        Deep Ties to Russia."' The Dossier misspells Alfa's name throughout, incorrectly

        spelling it as "Alpha." BuzzFeed's article did not mention CIR 112 or its allegations, but

        5   The Orbis/Steele Response, at 5-6.

        6 Jonathan M. Winer, Devin Nunes is Investigating Me.  Here's the Truth, THE WASHINGTON
        POST, February 8, 2018, available at https://www.washingtonpost.com/opinions/devin-nunes-is-
        investigating-me-heres-the-truth/2018/02/08/cc621170-0cf4-11e8-8b0d-
        891602206fb7_story html?utm_term=.81c6a33fccf4.

        7 Ken Bensinger, Miriam Elder, Mark Schoofs, These Reports Allege Trump Has Deep Ties To
        Russia, BUZZFEED NEWS, Jan. 10, 2017, available at
        https://www.buzzfeed.com/kenbensinger/these-reports-allege-trump-has-deep-ties-to-
        russia?utm_term=.is1Q2ka2J.


                                                       -7-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 68 of
                                     118




        focused instead on president-elect Trump and his alleged relationships with Russia,

        explaining that it "was publishing the full document so that Americans can make up their

        minds about allegations about the president-elect that have circulated at the highest levels

        of the U.S. government."8

                  13.   The Defendants intended, anticipated, or foresaw a high likelihood that

        providing third parties (like David Kramer, Senator McCain, and Jonathan Winer) and

        journalists with access to the Dossier's defamatory content would result in its

        republication by news media outlets, including online news media such as BuzzFeed.

                  14.   Plaintiffs seek an award of compensatory and punitive damages for the

        harm to their personal and professional reputations, current business interests, and the

        impairment of business opportunities that resulted from the blatantly false and

        defamatory statements and implications about them published recklessly to third parties

        by the Defendants and republished by BuzzFeed and countless other media around the

        world.

                                              THE PARTIES

                  15.   Plaintiffs Fridman, Aven. and Khan are ultimate beneficial owners of

        Alfa. Fridman and Khan are each citizens of both Russia and Israel, and Aven is a citizen

        of Russia. Plaintiffs are not widely known in the United States, had no role or

        involvement in any aspect of the 2016 U.S. presidential election, and made no public

        comments about it.




        8   Id.
                                                     -8-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 69 of
                                     118




                 16.     On information and belief, defendant Orbis is a private limited company

        headquartered in London, England. Orbis and Steele have had working relationships

        with Washington D.C.-based Fusion and Simpson for a number of years. In or about July

        of 2016, Orbis was engaged by and contracted with Fusion and Simpson to research and

        compile reports, on Trump/Russia relationships for delivery to Fusion in Washington,

        D.C., where Fusion would evaluate them and deliver them to its clients for their political

        purposes, including dissemination to government officials, journalists and news media in

        Washington D.C. and elsewhere to oppose the candidacy of Donald Trump in the 2016

        U.S. Presidential campaign.

                 17.     Defendant Christopher Steele, on information and belief, is a former

        British intelligence officer and a founder and a principal of Orbis. Over the years of their

        working relationship, defendant Steele was D.C.-based Fusion's contact at Orbis for

        engagements and was primarily responsible for researching and creating the Dossier to be

        provided to Fusion in D.C. for further dissemination here and elsewhere. Upon

        information and belief, as set forth above, Steele disseminated the defamatory material

        about Plaintiffs to journalists, including The Washington Post, Yahoo News and David

        Corn of Mother Jones magazine, and to third parties like David Kramer, Senator McCain,

        and Jonathan Winer, in Washington, D.C. in the fall of 2016. Mr. Winer recently stated

        publicly in an article in the Washington Post that after his 2013 return to the U.S. State

        Department, Steele provided him with more than 100 of his Russia-focused reports,

        which Winer shared with a senior State Department official.9


        9   Winer, supra. note 6.

                                                     -9-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 70 of
                                     118




                18.     Both Steele and Simpson used their prior experiences as an operative in

        British intelligence who had covered Russian matters (Steele) and as an investigative

        journalist for the Wall Street Journal (Simpson) to give their oppo research output a gloss

        of credibility and reliability which, in this case, was unwarranted.

                19.     Steele recently told a journalist that he did not interview his sources in

        Russia himself, but gathered his information through "paid collectors" and "subsources."

        And by Steele's own estimation, as much as 30% of the Dossier's content may not be

        "accurate."10

                                     JURISDICTION AND VENUE

                20.     This Court has personal jurisdiction over the Orbis defendants pursuant to

        Section 13-423 of the Code of the District of Columbia because Orbis and Steele

        transacted business in the District of Columbia. Defendants also caused tortious injury to

        Plaintiffs by acts and omissions within or directed to the District of Columbia (the

        "District"). Upon information and belief, in the District in the late summer and fall of

        2016, Orbis and Steele disseminated defamatory material to Fusion and to multiple

        journalists such as The Washington Post, David Corn (the District-based bureau chief of

        Mother Jones magazine) and Michael Isikoff of Yahoo News. At least one of the

        briefings at which Steele distributed defamatory material about Plaintiffs to journalists

        was held at the Tabard Inn in the District, including a briefing of The New Yorker




        I° Luke Harding, How Trump walked into Putin's web, THE GUARDIAN, Nov. 15, 2017,
        available at https://www.theguardian.corninews/2017/nov/15/how-trump-walked-into-putins-
        web-luke.

                                                     -10-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 71 of
                                     118




        reporter Jane Mayer." Steele also met with Jonathan Winer of the U.S. State Department

        at a hotel room in the District, and had discussions with District-based U.S. Department

        of Justice official Bruce Orh. In September, 2016, according to Winer, at the height of

        the presidential election campaign, Winer and Steele met in the District "and discussed

        the information now known as the 'dossier' so that Winer could "alert the State

        Department," which he did by preparing a "two page summary for a senior official" of

        the Department in the District. Finally, Steele authorized District-based Fusion GPS to

        provide a copy of his reports to David Kramer in the District for forwarding to Senator

        McCain, also in the District. In sum, Steele, acting for himself and Orbis, has engaged in

        a persistent course of conduct, often with Fusion and Simpson, intended to have and

        which did have effects in the District, by meeting with District based media and

        government employees to bring his reports on "Russia matters" to their attention. Those

        reports included the defamatory statements about Plaintiffs. From within and without the

        District, Steele's actions, on behalf of Orbis and himself, resulted in the tortious injury to

        Plaintiffs alleged herein, and have subjected him and Orbis to the personal jurisdiction of

        this Court.

                21.      In addition, Steele, on behalf of himself and Orbis, has engaged in other

        ongoing business relationships with entities located in the District. On information and

        belief, Steele and Orbis have been retained repeatedly by the District-based F.B.I to assist

        in various investigations between 2009 and 2016 and, as alleged above, Steele and Orbis

        have had an ongoing professional relationship with Fusion for years. And as also noted

        above, according to Winer, during his 2013-2016 employment at the State Department in

        I I Mayer, supra, at note 1.

                                                     -11-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 72 of
                                     118




        the District, Steele/Orbis provided over 100 intelligence reports, many of which Winer

        shared with other State Department officials.

                                      FACTUAL ALLEGATIONS

                22.    On information an belief, Orbis and Steele were engaged by Fusion during

        the 2016 U.S. presidential campaign to gather "oppo research," including compromising

        and salacious information about then presidential candidate Donald Trump. The scope of

        this engagement was not limited to Trump's business dealings in Russia, but also

        included the candidate's personal conduct. A significant purpose of this "research" was

        its ultimate intended use by Trump's political opponents to try to thwart his candidacy.

        Although Fusion had initially been hired by Republican opponents of Trump's candidacy,

        by the time Fusion engaged Orbis, Trump had secured the Republican nomination and the

        focus of opposition to Trump's candidacy had shifted to the Democrats. Fusion was

        engaged by Perkins Coie, a law firm with an office in D.C., in that firm's capacity as

        representing the Democratic National Committee (DNC) and HFACC, Inc., a campaign

        organization supporting Hillary Rodham Clinton's candidacy for President. Perkins Coie

        retained Fusion to provide such research services in April 2016, an engagement which

        continued until October 2016,12 and Fusion, in turn, retained Defendants to carry out that

        task.




        12 Adam Entous, Devlin Barrett, Rosalind S. Helderman, Clinton campaign, DNCpaidfor
        research that led to Russia dossier, THE WASHINGTON POST, Oct. 24, 2017, available at https://
        www.washingtonpost.com/world/national-security/clinton-campaign-dnc-paid-for-
        research-that-led-to-russia-dossier/2017/10/24/226fabf0-b8e4-11e7-a908-
        a3470754bbb9_story.html?utm_term=.897b43950afc.

                                                     -12-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 73 of
                                     118




                 23.     On information and belief, the Orbis Defendants and Fusion

       communicated with one another to initiate and perform that engagement via postal or

       communicated with one another to initiate and perform that engagement via postal or

       courier services, email, facsimile, interne audio or video services and/or telephone calls

       between Washington, D.C. and London, England. Orbis and Steele also acted directly in

       the District, including in joint meetings to brief members of the news media.

                 24.     The Orbis Defendants proceeded to research Trump's personal behavior in

       Russia and business dealings with Russian government officials, business leaders, and

       business entities. Steele compiled the "investigative" results into at least seventeen

       written CIRs for delivery to Fusion in Washington, D.C. By Steele's own description,

       the CIRs were "raw intelligence" containing unverified information from sources he did

       not personally interview." The CIRs produced between June 2016 and the end of

       October 2016 (including CIR 112) were provided and thus published to Fusion, and, in

       turn, to lawyers at Perkins Coie and their clients at the DNC and HFACC.

                 25.     After Trump received the Republican nomination for President in July

       2016, many media reports subsequently surfaced asserting, correctly, that Fusion had

       entered into an engagement with Democratic Party operatives interested in using oppo

       research to support Hillary Clinton's candidacy. These media reports vastly increased

       other media's and the public's interest in the content of the Dossier.

                 26.     In the late Summer or early Fall of 2016, defendant Steele, acting on

       behalf of Orbis, personally provided briefings on the content of the Dossier he and Orbis

       had prepared to a select group of journalists in the United States. Those journalists

       13   The Orbis/Steele Response, at 7, #17.
                                                     -13-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 74 of
                                     118




        included D.C.-based David Corn of Mother Jones magazine. Mother Jones then

        published an article by Mr. Corn about the existence, purpose, and content of the Dossier

        based on Steele's briefing to Corn and the author's review of the oppo research made

        available to him by Steele.

               27.     Steele has admitted that, through a D.C. based intermediary who was not a

        government official, David E. Kramer, he provided the oppo research in the Dossier to

        Senator John McCain of Arizona, an outspoken political opponent of Donald Trump's

        candidacy.

               28.     As they performed their work for Fusion's clients, the Orbis Defendants

        knew, anticipated or reasonably should have foreseen that, once in the hands of third

        parties such as David Kramer, Senator McCain, journalists like Michael Isikoff and

        David Corn, Perkins Coie, the political operatives at the DNC and HFACC, and their

        media contacts, the CIRs would be further disseminated publicly. Such further

        dissemination would inevitably foster widespread discussion about the CIRs in the

        United States. That is exactly what happened. Much of the ensuing media attention and

        public discussion focused on Orbis' and Steele's roles in the creation and dissemination

        of the Dossier, and the interviews solicited by them.

               29.     Upon information and belief, during this campaign to promote the public

        dissemination of their oppo research, Orbis and Steele provided background briefings to

        the media without attribution. During those briefings, Defendants never vouched for the

        credibility of their sources or the accuracy and reliability of the content of the Dossier

        and/or of CIR 112 specifically.



                                                     -14-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 75 of
                                     118




               30.     Despite the fact that they did not know the unverified, anonymous,

        inherently harmful accusations in CIR 112 about Plaintiffs to be true, Defendants

        intentionally published CIR 112 [along with the other reports in the Dossier] to Fusion,

        David Kramer, and John McCain, and foresaw (or reasonably should have foreseen) that

        it would then be republished to (1) Perkins Coie; (2) Perkins Coie's clients (the DNC and

        the HFACC); (3) employees of the DNC and the HFACC; and (4) journalists and media.

        Elements of the Dossier, possibly including CIR112, may have been published even more

        extensively by being made available for viewing during arranged briefings of certain

        journalists by Defendant Steele. Worldwide publication of the entire Dossier, whether by

        BuzzFeed or anyone else, was inevitable after these reckless actions by Defendants.

               31.     CIR 112 specifically discusses the Plaintiffs. Its heading, "RUSSIA/US

        PRESIDENTIAL ELECTION: KREMLIN-ALPHA GROUP CO-OPERATION," is

        defamatory in the Trump/Russia context of the entire Dossier, as this heading suggests

        that Alfa and its executives, including the Plaintiffs, cooperated in the alleged Kremlin-

        orchestrated campaign to interfere in the 2016 U.S. presidential election—the overriding

        focus of Steele's reports. This is a plausible and, indeed, inescapable inference a

        reasonable reader would draw from the heading of CIR 112, both because of its own

        content and based on the headings of fifteen of the sixteen other CIRs that Defendants

        dated and/or published before the end of October 2016. The Dossier's headings, as

        sequenced in the Dossier, are as follows:




                                                    -15-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 76 of
                                     118




        US PRESIDENTIAL ELECTION: REPUBLICAN CANDIDATE DONALD
        TRUMP'S ACTIVITIES IN RUSSIA AND COMPROMISING RELATIONSHIP
        WITH THE KREMLIN (CIR 80 — JUNE 20, 2016)

        RUSSIA/US PRESIDENTIAL ELECTION: FURTHER INDICATIONS OF
        EXTENSIVE CONSPIRACY BETWEEN TRUMP'S CAMPAIGN TEAM AND
        THE KREMLIN ( CIR 95 — UNDATED)

        RUSSIA: SECRET KREMLIN MEETINGS ATTENDED BY TRUMP ADVISOR,
        CARTER PAGE IN MOSCOW (JULY 2016) (CIR 94 — JULY 19, 2016)

        RUSSIA-US PRESIDENTIAL ELECTION: KREMLIN CONCERN THAT
        POLITICAL FALLOUT FROM DNC E-MAIL HACKING AFFAIR
        SPIRALLING [sic] OUT OF CONTROL (CIR 97 — JULY 30, 2016)

        RUSSIA/USA: GROWING BACKLASH IN KREMLIN TO DNC HACKING AND
        TRUMP SUPPORT OPERATIONS (CIR 100 - AUGUST 5, 2016)

        RUSSIA/US PRESIDENTIAL ELECTION: SENIOR KREMLIN FIGURE
        OUTLINES EVOLVING RUSSIAN TACTICS IN PRO-TRUMP. ANTI-CLINTON
        OPERATION (CIR 101 — AUGUST 10, 2016)

        RUSSIA/US PRESIDENTIAL ELECTION: REACTION IN TRUMP CAMP TO
        RECENT NEGATIVE PUBLICITY ABOUT RUSSIAN INTERFERENCE AND
        LIKELY RESULTING TACTICS GOING FORWARD (CIR 102 — AUGUST 10,
        2016)

        RUSSIA/US PRESIDENTIAL ELECTION: FURTHER DETAILS OF 'TRUMP
        LAWYER COHEN'S SECRET LIAISON WITH THE KREMLIN (CIR 136 —
        OCTOBER 20, 2016)

         RUSSIA/UKRAINE: THE DEMISE OF TRUMP'S CAMPAIGN MANAGER
         PAUL MANAFORT (CIR 105 — AUGUST 22, 2016)

        RUSSIA/US: KREMLIN FALLOUT FROM MEDIA EXPOSURE OF
        MOSCOW'S INTERFERENCE IN THE US PRESIDENTIAL CAMPAIGN (CIR
        111— SEPTEMBER 14, 2016)

        RUSSIA/US PRESIDENTIAL ELECTION: KREMLIN-ALPHA GROUP CO-
        OPERATION (CIR 112 — SEPTEMBER 14, 2016)

        RUSSIA/US PRESIDENTIAL ELECTION- REPUBLICAN CANDIDATE
        TRUMP'S PRIOR ACTIVITIES IN ST. PETERSBURG (CIR 113 — SEPTEMBER
        14, 2016)


                                        -16-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 77 of
                                     118




        RUSSIA: KREMLIN ASSESSMENT OF TRUMP AND RUSSIA INTERFER-
        ENCE IN US PRESIDENTIAL ELECTION (CIR 130 — OCTOBER 12, 2016)

        RUSSIA/US PRESIDENTIAL ELECTION: FURTHER DETAILS OF KREMLIN
        LIAISON WITH TRUMP CAMPAIGN (CIR 134 — OCTOBER 18, 2016)

        RUSSIA/US PRESIDENTIAL ELECTION: THE IMPORTANT ROLE OF
        TRUMP LAWYER, COHEN IN CAMPAIGN'S SECRET LIAISON WITH THE
        KREMLIN (CIR 135 — OCTOBER 19, 2016)

               32.     CIR 112 , in sections labeled "Summary" and "Detail," makes a series of

        factual allegations about the "current closeness" of an "Alpha Group-PUTIN

        relationship," including the allegations that "[s]ignificant favors continue to be done in

        both directions" and that "FRIDMAN and AVEN [are] still giving informal advice to

        PUTIN, especially on the US."

               33.     The Summary section of CIR 112 identifies a former employee of Alfa,

        Oleg Govorun, who is now the head of a government department in Putin's

        administration, as a "key intermediary" in the "PUTIN-Alpha relationship." CIR 112

        alleges that Govorun "delivered illicit cash directly to PUTIN" "throughout the 1990s,"

        when Govorun was an "Alpha executive" and Putin was the Deputy Mayor of St.

        Petersburg.

               34.     The first paragraph of the Detail section of CIR 112 states the full names

        of Plaintiffs Fridman, Aven, and Khan. It then includes a report from an unnamed

        "Russian government official:"

                       although they had [sic] had their ups and downs, the
                       leading figures in Alpha currently were on very good terms
                       with PUTIN. Significant favours continued to be done in
                       both directions, primarily political ones for PUTIN and
                       business/legal ones for Alpha. Also, FRIDMAN and
                       AVEN continued to give informal advice to PUTIN on


                                                    -17-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 78 of
                                     118




                         foreign policy, and especially about the US where he
                         distrusted advice being given him by officials.

               35.       Under any reasonable reading of CIR 112, alone, and in the context of the

        full Dossier and the headings of sixteen of its seventeen CIRs ("the Trump/Russia

        context"), Plaintiffs Fridman, Aven, and Khan, along with Alfa, are alleged to maintain a

        highly inappropriate, and even criminal, relationship with Putin, based on criminal

        interaction dating back to the 1990s. By clear and defamatory implication, CIR 112

        purports to tie the Plaintiffs to a Kremlin-orchestrated campaign to interfere in the 2016

        U.S. election.

               36.       The second paragraph of the Detail section alleges that Mr. Fridman

        "recently met directly with PUTIN" and that "much of the dialogue and business between

        them was mediated" by Govorun, the former Alfa employee. The paragraph describes

        Govorun as a "senior Presidential Administration official" who is "trusted by PUTIN:"

                         during the 1990s GOVORUN had been Head of
                         Government Relations at Alpha Group and in reality the
                         "driver" and "bag carrier" used by FRIDMAN and AVEN
                         to deliver large amounts of illicit cash to the Russian
                         president, at that time deputy Mayor of St. Petersburg.
                         Given that and the continuing sensitivity of the PUTIN-
                         Alpha relationship, and need for plausible deniability,
                         much of the contact between them was now indirect and
                         entrusted to the relatively low profile GOVORUN.

               37.       These allegations are false. And their defamatory nature, even when read

        alone, is clear: CIR 112 alleges that, in the 1990s, Alfa (a member of "Alpha Group")

        and two of its largest beneficial owners purportedly engaged in acts of criminal bribery

        by arranging for the "deliver[y] of large amounts of illicit cash" to Putin to secure

        favorable business treatment from him in his role as a public offical. Moreover, Oleg


                                                    -18-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 79 of
                                     118




        Govorun was not even employed by Alfa Bank until after Mr. Putin left St. Petersburg to

       join the Yeltsin administration in Moscow.

               38.     Those statements, on their own, and especially when considered in the

       Trump/Russia context of the Dossier as a whole, are defamatory. They imply that the

       alleged improper relationship between Alfa, the Plaintiffs, and Putin, which purportedly

       started in the 1990s, is ongoing. They also imply the fabrication that Govorun, the alleged

       "bag carrier" of the 1990s, who is now a senior official in Putin's administration, serves

       as the trusted intermediary between the Plaintiffs and Putin, including in connection with

        Plaintiffs' alleged involvement in Russia's interference in the U.S. election.

               39.     The third paragraph of the Detail section characterizes the "PUTIN-Alpha

        relationship as both a carrot and stick:"

                       Alpha held `kompromae on PUTIN and his corrupt
                       business activities from the 1990s whilst although not
                       personally overly bothered by Alpha's failure to reinvest
                       the proceeds of its TNK oil company sales into the Russian
                       economy since, the Russian president was able to use
                       pressure on this count from senior Kremlin colleagues as a
                       lever on FRIDMAN and AVEN to make them do his
                       political bidding.

               40.     This passage is defamatory in several ways. Read in the context of the

        Dossier's Trump/Russia theme. it suggests that Plaintiffs Fridman and Aven use their

        knowledge of past bribery of Putin—"kompromat"—as a means of criminally extorting

        favorable treatment for their business interests from his government. In the context of the

        other allegations, this passage also implies that Alfa and two of its largest beneficial

        owners, Plaintiffs Fridman and Aven, willingly maintain a close relationship with Putin

        and cooperated in some unspecified way in the Kremlin's alleged campaign to interfere


                                                     -19-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 80 of
                                     118




        in the U.S. election in an effort to avoid retribution from Putin for not reinvesting

        business proceeds in Russia.

                41.    The statements about the Plaintiffs in the context of the Dossier as a whole

        are false, defamatory, and gravely damaging. The statements in the Detail section of CIR

        112 about Plaintiffs allege a criminal relationship with Mr. Putin in the 1990s. Even if

        considered independently, these statements raise substantial questions about why these

        almost twenty-year-old allegations were included by Defendants in a Dossier of "oppo

        research" about Donald Trump. The statements of CIR 112, published in an unverified

        report attributed to an anonymous "top level Russian official" of unknown credibility or

        existence, raise a clear and plausible inference of reckless disregard of truth or falsity by

        Defendants.

                                           CAUSE OF ACTION

               42.     Plaintiffs repeat and reallege paragraphs 1-41 above.

               43.      By their direct and intentional publication to third parties such as clients,

        news media, journalists, and others, and by the foreseeable republication of the Dossier

        and CIR 112 by someone in that group, the Defendants published to a worldwide public

        false and defamatory statements concerning Plaintiffs and Alfa, including that:

                       (a)     they are implicated in the scandalous allegations involving Russia

               and President Trump referred to in the heading of CIR 112 and the other CIRs in

               the Dossier;

                       (b)     they and other officials and employees of Alfa "cooperated" with

               an alleged Kremlin campaign to interfere in the U.S. presidential election;


                                                     -20-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 81 of
                                     118




                         (c)     they are parties to a highly inappropriate, and even criminal,

                relationship with Vladimir Putin;

                         (d)     they engaged in acts of criminal bribery of Vladimir Putin in the

                1990s, then the Deputy Mayor of St. Petersburg, to secure favorable business

                treatment; and

                         (e)     they continue to use their knowledge of past bribery of Putin as a

                means of criminally extorting continuing favorable treatment for their business

                interests from the Putin government.

                44.      Readers of the CIRs and the Dossier were also led to understand,

        incorrectly, that as a result of the Plaintiffs' alleged past—and current—close

        relationships and corrupt dealings with Mr. Putin, the Plaintiffs and Alfa were and are

        required to do Putin's bidding, including by cooperating in the Kremlin's alleged efforts

        to influence the outcome of the recent U.S. presidential election.

                45.      The false statements by the Defendants referred to above defamed the

        Plaintiffs and Alfa, and have caused and will continue to cause serious injury to their

        personal, professional, and institutional reputations.

                46.      The false and defamatory statements published and republished by the

        Defendants concerning the Plaintiffs and Alfa, as well as the obvious implications of

        those statements, were made negligently or with reckless disregard of whether they were

        true or false.

                47.      Defendants are liable for the defamation of Plaintiffs and Alfa, and the

        resulting harm caused by the news media coverage of the Dossier, including the

        republication by BuzzFeed and countless other media.

                                                      -21-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 82 of
                                     118




               JURY TRIAL DEMANDED

               Plaintiffs hereby demand a trial by jury on all issues so triable.


               WHEREFORE, Plaintiffs Mikhail Fridman, Petr Aven, and German Khan

        demand judgment against Defendants Orbis and Steele for:

               a.      compensatory damages in an amount to be proved at trial, together with

        interest and the costs and disbursements of this action, plus reasonable attorneys' fees;

               b.      punitive damages in an amount to be determined at trial; and

               c.      such other and further relief as this Court may deem just and proper.

        Dated: Washington, D.C.
               April 16, 2018

                                              By:      /s/ Kim Hoyt Sperduto
                                                      Kim Hoyt Sperduto
                                                      DC Bar No. 416127

                                                      SPERDUTO THOMPSON PLC
                                                      1133 Twentieth Street, N.W.
                                                      Second Floor
                                                      Washington, D.C. 20036
                                                      202-408-8900
                                                      202-408-8910 (t)
                                                      ksperduto@sperdutothompson.com

                                                      Alan S. Lewis
                                                      John J. Walsh
                                                      CARTER LEDYARD & MILBURN LLP
                                                      2 Wall Street
                                                      New York, NY 10005
                                                      Telephone: 212-238-8647
                                                      lewis@clm.com

                                                      Counselfor Plaintiffs
                                                       Mikhail Fridman, et al.



                                                    -22-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 83 of
                                               118
                           Superior Court of the District of Columbia
                                          CIVIL DIVISION
                                        Civil Actions Branch
                    500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001
                         Telephone: (202) 879-1133 Website: www.dccourts.gov

    Mikhail Fridman, et al.
                                                                        Plaintiff
                                           VS.                                                                         XX-XXXXXXX
                                                                                                          Case Number
    Orbis Business Intelligence Limited
                                                                       Defendant

                                                                      SUMMONS
 To the above named Defendant:

         You are hereby summoned and required to serve an Answer to the attached Complaint, either
 personally or through an attorney, within twenty one (21) days after service of this summons upon you,
 exclusive of the day of service. If you are being sued as an officer or agency of the United States Government
 or the District of Columbia Government. you have sixty (60) days after service of this summons to serve your
 Answer. A copy of the Answer must be mailed to the attorney for the plaintiff who is suing you. The
 attorney's name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
 to the plaintiff at the address stated on this Summons.

         You are also required to tile the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
 N. W., between 6:3U a.m. and 5:uu p.m., Mondays through r ridays or between 9:UV a.m. and 12:0V noon on
 Saturdays. You may tile the original Answer with the Court either before you serve a copy of the Answer on
 the plaintiff or within seven (7) days after you have served the plaintiff. If you fail to file an Answer,
 judgment by default may be entered against you for the relief demanded in the complaint:

Kim Sperduto                                                                                      Clerk ()likerc•
                                                                                                                       .
Name of Plaintiff's Attorney
                                                                                                                   4
Sperduto Thompson PLC                                                                                             4.
                                                                                    By
Address                                                                                             1,:t Apt
 t33 20ili St. NW. Sre:Itrl Flour. IV;ishint.zzon. D.C. _inn:;'                                       ,
209- 408 — 8900                                                                     Date                          ZO       v.::.••••••
Telephone
                                                                                                                                    •
PoMna.iff11-Egg (202) 879-4828                   Veuillez appeler au (202) 879-4828 pour une traduction       De c6 mOrbai         hay•gui (202) 879-4828
tsto/Ntipie,(202)879-4828,E f.J%-4•40032.                  Vha/c1V 4.c?•9. AdVIVI• (202) 879-4828     g. etp-A.



  IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITHIN TILE TIME STATED ABOVE, OR IF, AFTER YOU
ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAULT
MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEMANDED IN THE
COMPLAINT. IF THIS OCCURS, YOUR WAGES MAY BE ATTACHED OR WITHHELD OR PERSONAL PROPERTY OR
REAL ESTATE YOU OWN MAY BE TAKEN AND SOLD TO PAY THE JUDGMENT. IF YOU INTEND TO OPPOSE THIS
ACTION DO NOT FAIL TO ANSWER WITHIN THE REQUIRED TIME.

   if you wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer. promptly contact one of the offices of the
Legal Aid Society (202-628-1161) or the Neighborhood Legal Services (202-279-5100) for help or come to Suite 5000 at 500
Indiana Avenue, N.W., for more information concerning places where you may ask for such help.

                                                         Sec reverse side for Spanish translation
                                                          Vea al dorso la traduccion al esparlol
     Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 84 of
                                          118
        4
                                          TRIBUNAL SUPERIOR DEL DISTRITO DE COLUMBIA
                                                           DIVISION CIVIL
                                                     Seccion de Acciones Civiles
                                               500 Indiana Avenue, N.W., Suite 5000, Washington, D.C. 20001
                                                      Telefono: (202) 879-1133 Sitio web: www.dccourts.gov




                                                                     Demandante
                                           contra
                                                                                                   Numero de Caso:

                                                                      Demandado

                                                                     CITATORIO
       Al susodicho Demandado:
                Por la presente se le cita a comparecer y se le require entregar una Contestacion a is Demanda adjunta, sea en
       persona o por medio de un abogado, en el plazo de veintitan (21) dias contados despues que usted haya recibido este
       citatorio, excluyendo el dia mismo de la entrega del citatorio. Si usted esta siendo demandado en calidad de oticial o
       agente del Gobierno de los Estados Unidos de Norteamerica o dcl Gobierno dcl Distrito dc Columbia, tienc usted
       sesenta (60) dias. contados despues que usted haya recibido este citatorio. para entregar su Contestacion. Ilene que
       enviarle por correo una copia de su Contestacion al abogado de la parte demandante. El nombre y direccion del
       abogado aparecen al final de este documento. Si el demandado no tiene abogado, tiene que enviarle al demandante una
       copia de la Coniestacion por correo a la direccion que aparece en este t_ ttaturio.

                A usted tambien se le require presentar la Contestacion original al Tribunal en la Oficina 5000, silo en 500
       Indiana Avenue. N.W., entre las 8:30 a m. y 5:00 p.m.. de tunes a viernes o entre las 9:00 a.m. y las 12:00 del mediodia
       los sitbados. Usted puede presentar la Contestacion original ante el Juez ya sea antes que usted le entregue al
       demandante una copia de la Contestacion o en el plazo de siete (7) dias de haberle hecho la entrega al demandante. Si
       usted incumple con presentar una Contestacien, podria dictarse un fallo en rcbeldia contra usted para que se haga
       efectivo el desagravio que se busca en la demanda.
                                                                             SECRETARIO DEL TRIBUNAL
      Nombre dcl abogado del Demandante

                                                                                  Por:
      Direccion                                                                                                Subsecretario


                                                                                  Fccha
      Telefono
      161/1111a.i7Ef *it (202) 879-4828       Veuillez appeler au (202) 879-4828 pour une traduction         co mOt hai dick hk 4o1 (202) 879-4828
                     tigliWA.1141a1(202)879-4828 E.J4W-41144ga              VridicT         nartv:I. (202) 879-4828      x,x4)-A.

        IMPORTANTE: Si USTED INCUMPLE CON PRESENTAR UNA CONTESTACION EN EL PLAZO ANTES
      MENCIONADO 0, SI LUEGO DE CONTESTAR. USTED NO COMPARECE CUANDO LE AVISE EL JUZGADO, PODRIA
      DICTARSE UN FALLO EN REBELDIA CONTRA USTED PARA QUE SE LE COBRE LOS DASIOS Y PERJUICIOS U OTRO
      DESAGRAVIO QUE SE BUSQUE EN LA DEMANDA. SI ESTO OCURRE, PODRIA RETENERSELE SUS INGRESOS, 0
      PODRIA TOMARSELE SUS BIENES PERSONALES 0 BIENES RA10ES Y SER VENDIDOS PARA PAGAR EL FALLO. Si
      USTED PRETENDE OPONERSE A ESTA ACCION, NO DEJE DE CONTESTAR LA DEAL4NDA DENTRO DEL PLAZO
      EXIGIDO.

         Si desea conversar con un abogado y lc parece que no puede pagarlc a uno, Ilame pronto a una de nuestras oficinas del Legal Aid
      Society (202-628-1161) o el Neighborhood Legal Services (202-279-5100) para pedir ayuda o venga a la Oficina 5000 del 500
      Indiana Avenue. N.W., para informarse sobre otros lugares donde puede pedirayuda al respecto.

                                                           Vea al dorso el original en ingles
                                                          See reverse side for English original
CV-3110 [Rev. June 2017]                                                                                                  Super. Ct. Civ. R. 4
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 85 of
                                            118
                          Superior Court of the District of Columbia
                                        CIVIL DIVISION
                                      Civil Actions Branch
                    500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001
                                     Telephone: (202) 879-1133 Website: www.dccourts.gov

    Mikhail Fridman, et al.
                                                                 Plaintiff
                                    vs.
                                                                                                        18    - 0 0 0 2667
                                                                                                  Case Number
   Christopher Steele
                                                                Defendant

                                                               SUMMONS
 To the above named Defendant:

         You are hereby summoned and required to serve an Answer to the attached Complaint, either
 personally or through an attorney, within twenty one (21) days after service of this summons upon you,
 exclusive of the day of service. If you are being sued as an officer or agency of the United States Government
 or the District of Columbia Government. you have sixty (60) days after service of this summons to serve your
 Answer. A copy of the Answer must be mailed to the attorney for the plaintiff who is suing you. The
 attorney's name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
 to the plaintiff at the address stated on this Summons.

         You are also required to tile the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
  N.W., between 6:30 a.m. and 5:du p.m., Nlondays tnrougn irtdays or between 9:UU a.m. and i 2:UU noon on
  Saturdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
 the plaintiff or within seven (7) days after you have served the plaintiff. 11.4.ou-fail.,to file an Answer,
 judgment by default may be entered against you for the relief demanded in the co4fairnt,
                                                                                                   T• ,•••"
Kim Sperduto                                                                              040057•
                                                                                               • theivret)•
Name of Plaintiffs Attorney
Sperduto Thompson PLC                                                        By
Address
1133 20111 St. NW.        Floor,             D.C. .20f):::
                                                                                                             ee• S,..
909- 4 O k - 8900                                                                             1 eiti2DIE                     :. .,,c_f
                                                                             Date
                                                                                                    .,,,,,...., .          /„,
Telephone
Po Migia.iiitfEtig (202) 879-4828         veoilez appeler au (202) 879-4828 pour one traduction       D41 có i717WrirtriAhlf gilm (202)879-4828
Idelik Vi}APO, (202) 879-48282.11-114P.             s'h.vOlt 41:7•9n narnl. (202) 879-4828    g,eco*


  IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITI UN THE TIME STATED ABOVE, OR IF, AFTER YOU
ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAULT
MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER' RELIEF DEMANDED IN THE
COMPLAINT. IF THIS OCCURS. YOUR WAGES MAY BE ATTACHED OR WITHHELD OR PERSONAL PROPERTY OR
REAL ESTATE YOU OWN MAY BE TAKEN AND SOLD TO PAY THE JUDGMENT. IF YOU INTEND TO OPPOSE THIS
ACTION. DO NOTFAIL TO ANSWER WITHIN THE REQUIRED TIME.

   If you wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer, promptly contact one of the offices of the
Legal Aid Society (202-628-1161) or the Neighborhood Legal Services (202-279-5100) for help or come to Suite 5000 at 500
Indiana Avenue, N.W., for more information concerning places where you may ask for such help.

                                                  See reverse side for Spanish translation
                                                   Vea al dorso la traduccion al espaliol
      Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 86 of
                                           118


                                        TRIBUNAL SUPERIOR DEL DISTRITO DE COLUMBIA
                                                         DIVISION CIVIL
                                                   Seccion de Acciones Civiles
                                            500 Indiana Avenue, N.W., Suite 5000, Washington, D.C. 20001
                                                   Telefono: (202) 879-1133 Sitio web: www.dccourts.gov




                                                                      Demandante
                                        contra
                                                                                                        Numero de Caso:

                                                                      Demandado

                                                                      CITATORIO
       Al susodicho Demandado:
                Por la presente se le cite a comparecer y se le require entregar una Contestacion a la Demanda adjunta, sea en
       persona o por medio de un abogado, en el plazo de veintiun (2I) dies contados despues que Listed haya recibido este
       citatorio, excluyendo el dia mismo de la entrega del citatorio. Si usted esta siendo demandado en calidad de official o
       agente del Gobierno de los Estados Unidos de Norteamerica o del Gobierno del Distrito de Columbia, tienc usted
       sesenta (60) dies. contados despues que usted haya recibido este citatorio. para entregar su Contestacion. Tiene que
       enviarle por correo una copia de su Contestacion al abogado de la parte demandante. El nombre y direccion del
       abogado aparecen al final de este documento. Si el demandado no tiene abogado. tiene que enviarle al demandante una
       copia de la Contestacion por correo a la direccion que aparece en este C axon°.

                A usted tambien se le require presenter la Contested& original al Tribunal en la Oficina 5000, sito en 500
       Indiana Avenue. N.W., entre las 8:30 a.m. y 5:00 p.m.. de tunes a viemes o entre las 9:00 a.m. y las 12:00 del mediodia
       los sabados. Usted puede presenter la Contested& original ante el Juez ya sea antes que usted le entregue al
       demandante una copia de la Contested& o en el plazo de siete (7) dies de haberle hecho la entrega al demandante. Si
       Listed incumple con presenter una Contestacion, podria dietarse un fallo en rebeldia contra usted para que se haga
       efectivo el desagravio que se busca en la demanda.
                                                                                              SECRETARIO DEL TRIBUNAL
      Nombre dcl abogado del Demandante

                                                                                   Poor:
      Direecion                                                                                                   Suhsecretario


                                                                                   Fecha
      Telefono
      OXIIIR.illtTEgit (202) 879-4828       Veuillez appeler au (202) 879-4828 pour une traduction            Uc co mot bai dick lift> gol (202)879-4828
                   ttttfr:Vg'iqitt(202)879-4828   jr_141gir441,1.V,                        41:7 9n /tarry. (202) 879-4828   R..e.co-A•

        IMPORTANTE: SI USTED INCUMPLE CON PRESENTAR UNA CONTESTACION EN EL PLAZO ANTES
      MENCIONADO 0, SI LUEGO DE CONTESTAR. USTED NO COMPARECE CUANDO LE AVISE EL JUZGADO, PODRIA
      DICTARSE UN FALLO EN REBELDIA CONTRA USTED PARA QUE SE LE COBRE LOS DAFJOS Y PERJUICIOS U OTRO
      DESAGRAVIO QUE SE BUSQUE EN LA DEMANDA. SI ESTO OCURRE. PODRIA RETENERSELE SUS INGRESOS. 0
      PODRIA TOMARSELE SUS BIENES PERSONALES 0 BIENES RAICES Y SER VENDIDOS PARA PAGAR EL FALLO. SI
      USTED PRETENDE OPONERSE A ESTA ACCION, NO DEJE DE CONTESTAR LA DEMANDA DENTRO DEL PLAZO
      EXIGIDO.

         Si dcsea convcrsar con un abogado y lc parece que no puede pagarle a uno, Ilamc pronto a una de nuestras oficinas del Legal Aid
      Society (202-628-1161) o el Neighborhood Legal Services (202-279-5100) para pedir ayuda o venga a la Oficina 5000 del 500
      Indiana Avenue. N.W., para informarse sobre otros lugares donde puede pedirayuda al respecto.

                                                       Vea al dorso el original en ingles
                                                      See reverse side for English original
CV-3110 (Rev. June 2017]                                                                                                       Super. Ct. Civ. R. 4
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 87 of
                                     118
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 88 of
                                     118
  Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 89 of
                     SUPERIOR COURT OF THE118 DISTRICT OF COLUMBIA
                                   CIVIL DIVISION
                                  Civil Actions Branch
                           500 Indiana Avenue, N.W., Suite 5000, Washington, D.C. 20001
                              Telephone: (202) 879-1133 • Website: www.dccourts.gov

GERMAN KHAN et al
  Vs.                                                                 C.A. No.            2018 CA 002667 B
ORBIS BUSINESS INTELLIGENCE LIMITED et al
                                 INITIAL ORDER AND ADDENDUM

    Pursuant to D.C. Code § 11-906 and District of Columbia Superior Court Rule of Civil Procedure
("Super. Ct. Civ. R.") 40-I, it is hereby ORDERED as follows:

      (1) Effective this date, this case has assigned to the individual calendar designated below. All future filings
in this case shall bear the calendar number and the judge's name beneath the case number in the caption. On
filing any motion or paper related thereto, one copy (for the judge) must be delivered to the Clerk along with the
original.

     (2) Within 60 days of the filing of the complaint, plaintiff must file proof of serving on each defendant:
copies of the summons, the complaint, and this Initial Order and Addendum. As to any defendant for whom
such proof of service has not been filed, the Complaint will be dismissed without prejudice for want of
prosecution unless the time for serving the defendant has been extended as provided in Super. Ct. Civ. R. 4(m).

     (3) Within 21 days of service as described above, except as otherwise noted in Super. Ct. Civ. R. 12, each
defendant must respond to the complaint by filing an answer or other responsive pleading. As to the defendant
who has failed to respond, a default and judgment will be entered unless the time to respond has been extended
as provided in Super. Ct. Civ. R. 55(a).

     (4) At the time and place noted below, all counsel and unrepresented parties shall appear before the
assigned judge at an initial scheduling and settlement conference to discuss the possibilities of settlement and to
establish a schedule for the completion of all proceedings, including, normally, either mediation, case evaluation,
or arbitration. Counsel shall discuss with their clients Drior to the conference whether the clients are agreeable to
binding or non-binding arbitration. This order is the only notice that parties and counsel will receive
concerning this Conference.

      (5) Upon advice that the date noted below is inconvenient for any party or counsel, the Quality. Review-
Branch (202) 879-1750 may continue the Conference once, with the consent of all parties, to either of the two
succeeding Fridays. Request must be made not less than seven business days before the scheduling conference
date.
No other continuance of the conference will be granted except upon motion for good cause shown.

     (6) Parties are responsible for obtaining and complying with all requirements of the General Order for Civil
cases, each judge's Supplement to the General Order and the General Mediation Order. Copies of these orders
are available in the Courtroom and on the Court's website http://www dccourts gov/.

                                                                  elludge Robert E. Morin
::Case Assigned to: Judge ANTHONY C EPSTEIN
Date: April 20, 2018
 Initial Conference: 9:30 am, Friday, July 20, 2018
 Location. Courtroom 200
             500 Indiana Avenue N.W.
           WASHINGTON, DC 20001.
                                                                                                      CA10-60
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 90 of
                                     118
                        ADDENDUM TO INITIAL ORDER AFFECTING
                          ALL MEDICAL MALPRACTICE CASES

         In accordance with the Medical Malpractice Proceedings Act of 2006, D.C. Code § 16-2801,
 et seq. (2007 Winter Supp.), "[a]fter an action is filed in the court against a healthcare provider
 alleging medical malpractice, the court shall require the parties to enter into mediation, without
 discovery or, if all parties agree[,] with only limited discovery that will not interfere with the
 completion of mediation within 30 days of the Initial Scheduling and Settlement Conference
 ("ISSC"), prior to any further litigation in an effort to reach a settlement agreement. The early
 mediation schedule shall be included in the Scheduling Order following the ISSC. Unless all
 parties agree, the stay of discovery shall not be more than 30 days after the ISSC."
 D.C. Code § 16-2821.

         To ensure compliance with this legislation, on or before the date of the ISSC, the Court will
 notify all attorneys and pro se parties of the date and time of the early mediation session and the
 name of the assigned mediator. Information about the early mediation date also is available over
 the internet at https://www:dccourts.gov/pa/. To facilitate this process, all counsel and pro se
 parties in every medical malpractice case are required to confer, jointly complete and sign an
 EARLY MEDIATION FORM, which must be filed no later than ten (10) calendar days prior to the
 ISSC. D.C. Code § 16-2825 Two separate Early Mediation Forms are available. Both forms may be
 obtained at www.dccourts.gov/medmalmediation. One form is to be used for early mediation with a
 mediator from the multi-door medical malpractice mediator roster; the second form is to be used for
 early mediation with a private mediator. Both forms also are available in the Multi-Door Dispute
 Resolution Office, Suite 2900, 410 E Street, N.W. Plaintiffs counsel is responsible for eFiling the
 form and is required to e-mail a courtesy copy to earlymedmal@dcsc.gov. Pro se Plaintiffs who
 elect not to eFile may file by hand in the Multi-Door Dispute Resolution Office.

        A roster of medical malpractice mediators available through the Court's Multi-Door Dispute
 Resolution Division, with biographical information about each mediator, can be found at
 www.dccourts.gov/medmalmediation/mediatorprofiles. All individuals on the roster are judges or
 lawyers with at least 10 years of significant experience in medical malpractice litigation
 D.C. Code § 16-2823(a), If The parties cannot agree on a mediator, the Court will appoint one.
 D C. Code § 16-2823(b):

         The following persons are required by statute to attend personally the Early Mediation
 Conference. (1) all parties; (2) for parties that are not individuals, a representative with settlement
 authority; ,(3) in cases involving an insurance company, a representative of the company with
 settlement authority; and (4) attorneys representing each party with primary responsibility for the
 case. D C..Code § 16-2824.

         No later than ten (10) days after the early mediation session has terminated, Plaintiff must
 eFile with the Court a report prepared by the mediator, including a private mediator, regarding:
 (1) attendance; (2) whether a settlement was reached; or, (3) if a settlement was not reached, any
 agreements to narrow the scope of the dispute, limit discovery, facilitate future settlement, hold
 another mediation session, or otherwise reduce the cost and time of trial preparation.
 D.C. Code§ 16-2826. Any Plaintiff who is pro se may elect to file the report by hand with the Civil
 Actions Branch The forms to be used for early mediation reports are available at
 www.dccourts.gov/medmalmediation.

                                                               Chief    Judge     Robert    E.    MOrin


                                                                                                 CA10-60
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 91 of
                                     118




                            EXHIBIT 10
Case 0:17-cv-60426-UU   Document 236-3
           Case 1:17-cv-02041-RJL      Entered
                                   Document 1 on   FLSD
                                               Filed     DocketPage
                                                     10/03/17   10/09/2018
                                                                    1 of 14 Page 92 of
                                       118




      UNITED STATES DISTRICT COURT
      DISTRICT OF COLUMBIA
      ----------------------------------------------------------------X
                                                                      :
      MIKHAIL FRIDMAN, PETR AVEN, AND                                 :
      GERMAN KHAN,                                                    :   Case No. ____ /2017
      c/o CARTER LEDYARD & MILBURN LLP                                :
      2 Wall Street                                                   :
      New York, NY 10005,                                             :     COMPLAINT
                                                                      :
                                          Plaintiffs,                 :
                                                                      :
                        -v-                                           :
                                                                      :
      BEAN LLC (A/K/A FUSION GPS) AND                                 :
      GLENN SIMPSON,                                                  :
      1700 Connecticut Avenue, Suite 400                              :
      Washington, D.C. 20009,                                         :
                                                                      :
                                          Defendants.
      ----------------------------------------------------------------X

                                                  COMPLAINT

              Plaintiffs Mikhail Fridman, Petr Aven, and German Khan, by their attorneys

      Carter Ledyard & Milburn LLP, allege as follows:

                                               INTRODUCTION

              1.       This is a defamation case brought by three international businessmen who

      were defamed in widely disseminated political opposition research reports commissioned

      by political opponents of candidate Donald Trump. The reports (which came to be

      known as the “Trump Dossier” and the “Dossier”) were published in advance of the 2016

      presidential election by the Defendants: the Washington, D.C. based firm Fusion GPS

      (“Fusion”) and its principal Glenn Simpson, a former journalist specializing in political

      opposition research. In that role, the Defendants traffic in procuring damaging
Case 0:17-cv-60426-UU   Document 236-3
           Case 1:17-cv-02041-RJL      Entered
                                   Document 1 on   FLSD
                                               Filed     DocketPage
                                                     10/03/17   10/09/2018
                                                                    2 of 14 Page 93 of
                                       118




      information about political candidates. The reports are gravely damaging in that they

      falsely accuse the Plaintiffs—and Alfa (“Alfa”), a consortium in which the Plaintiffs are

      investors—of criminal conduct and alleged cooperation with the “Kremlin” to influence

      the 2016 presidential election. But neither the Plaintiffs nor Alfa committed any of the

      acts irresponsibly attributed to them by the Defendants. To the contrary, the Plaintiffs

      and Alfa are collateral damage in a U.S. political operation—conducted by the

      Defendants—that has nothing to do with the Plaintiffs.

             2.      The specific “report” that includes defamatory statements about the

      Plaintiffs is one of seventeen written Company Intelligence Reports 2016 (“CIRs”) that

      comprise the Trump Dossier. The Defendants included Company Intelligence Report

      112 (the “Report” or “CIR 112”) in the Trump Dossier, even though the Trump Dossier’s

      themes have nothing to do with the Plaintiffs. Broadly, those reports purport to describe

      details of an alleged scheme between the Russian government and the Trump presidential

      campaign to unlawfully manipulate the result of the presidential election in favor of

      candidate Trump. The Defendants gathered these reports in the process of conducting

      “opposition research” (known as “oppo research” by its practitioners and the media)

      against Trump. Opposition research, in essence, is the gathering of information for the

      purpose of eventually discrediting or otherwise harming a candidate for a public office.

      Opposition research is neither objective nor neutral. Instead, it is skewed from the outset

      in favor of appearing to find negative information about individuals—the essence of the

      product that political opposition research practitioners are hired to produce.




                                                   -2-
Case 0:17-cv-60426-UU   Document 236-3
           Case 1:17-cv-02041-RJL      Entered
                                   Document 1 on   FLSD
                                               Filed     DocketPage
                                                     10/03/17   10/09/2018
                                                                    3 of 14 Page 94 of
                                       118




             3.       As described below, the Defendants were initially hired to conduct this

      opposition research by Republican Party political opponents of candidate Trump. Those

      political opponents sought to gather discrediting information about candidate Trump to

      thwart his presidential run, including any connections he might have to Russian

      businesses or Russia’s government. To perform that research, the Defendants hired a

      private investigator—a former British intelligence officer named Christopher Steele, who

      operated through an entity known as Orbis Business Intelligence Limited (“Orbis”).

      Steele used his own Russian sources to compile the reports, which were then delivered to

      the Defendants over the course of several months. Eventually, the reports, including the

      false and defamatory Report at the heart of this case, were assembled in the document

      that has come to be known to the public as the Trump Dossier. Even though the Dossier

      contained unverified allegations, Defendants recklessly placed it beyond their control and

      allowed it to fall into the hands of media devoted to breaking news on the hottest subject

      of the day: the Trump candidacy.

             4.      One of the seventeen reports in the Dossier—CIR 112—accused the

      Plaintiffs of criminal conduct and participation in an alleged Trump-Russia scheme to

      influence the 2016 presidential election. Defendants knew that this Report was not

      verified, and that it defamed Plaintiffs on its face. Defendants could easily have removed

      that Report from the Dossier before they started peddling the Dossier to media and

      journalists in September and October 2016. They chose not to do so. Nor did they

      attempt to determine the veracity of that Report with the Plaintiffs themselves.




                                                  -3-
Case 0:17-cv-60426-UU   Document 236-3
           Case 1:17-cv-02041-RJL      Entered
                                   Document 1 on   FLSD
                                               Filed     DocketPage
                                                     10/03/17   10/09/2018
                                                                    4 of 14 Page 95 of
                                       118




             5.      At all times during the Defendants’ engagement of Orbis and Steele, it

      was either intended or clearly foreseeable that the Dossier’s contents would be

      republished (in whole or in part) to third parties, either by the Defendants themselves or

      their clients. Indeed, that is the entire purpose of “oppo research” in politics. Those third

      parties included government officials, as well as news media and journalists who could

      make its content public.

             6.      On information and belief, Defendants arranged for Steele to brief selected

      members of the print and online media about the information he was compiling on

      candidate Trump. Consistent with the intended purpose of “oppo research” to publicly

      discredit its target, Steele’s briefings were designed to generate interest in the Dossier and

      secure its eventual public dissemination. Briefings were held for journalists from the

      New York Times, the Washington Post, CNN, Yahoo News, and others in September

      2016. Shortly thereafter, Yahoo News published an article by Michael Isikoff that

      described some of the content of the Dossier (referred to there as “intelligence reports”

      and “reports”), which was still being compiled at that time. 1 Many other media articles

      reported speculative accounts of the Dossier’s existence and contents. In October 2016,

      Steele was interviewed by David Corn, a writer for Mother Jones, which on October 31,

      2016 published an article headlined “A Veteran Spy Has Given The FBI Information

      Alleging a Russian Operation to Cultivate Donald Trump.” 2 The Corn article stated that

      it had “reviewed” the early reports in the Dossier, and then quoted from those reports as

      1
        https://www.yahoo.com/news/u-s-intel-officials-probe-ties-between-trump-adviser-and-
      kremlin-175046002.html
      2
        https://www.motherjones.com/politics/2016/10/veteran-spy-gave-fbi-info-alleging-russian-
      operation-cultivate-donald-trump/

                                                    -4-
Case 0:17-cv-60426-UU   Document 236-3
           Case 1:17-cv-02041-RJL      Entered
                                   Document 1 on   FLSD
                                               Filed     DocketPage
                                                     10/03/17   10/09/2018
                                                                    5 of 14 Page 96 of
                                       118




      well as statements made by Steele in the interview. The public dissemination of the

      Dossier’s content had begun in earnest.

             7.      In addition to cultivating media interest, the Defendants also organized or

      approved a meeting in Great Britain between Steele and David Kramer, a director of a

      private foundation led by U.S. Senator John McCain. The purpose of that meeting was to

      brief Kramer on behalf of Senator McCain, who at the time was an outspoken critic of

      Trump’s candidacy. Subsequently, in November 2016, Defendants provided a copy of

      the Dossier’s first sixteen reports, including the Report that falsely accused and defamed

      Plaintiffs, to Kramer for redelivery to Senator McCain.

             8.      As the 2016 presidential election neared, both print and online media in

      the United States and abroad began to expand their coverage of the Dossier and its

      alleged content. That coverage only intensified after Trump won the election. On

      January 10, 2017, one of those media entities, BuzzFeed, Inc., published the entire

      Dossier on the Internet, describing it as “explosive.” The copy of the Dossier that

      BuzzFeed published included the false and defamatory allegations about the Plaintiffs

      and Alfa, along with an article entitled “These Reports Allege Trump Has Deep Ties to

      Russia.” 3 The Dossier misspells Alfa’s name throughout, incorrectly spelling it as

      “Alpha.” In a recent court filing, Fusion admitted that it had “pre-publication”

      communications with BuzzFeed about its publication. 4


      3
        https://www.buzzfeed.com/kenbensinger/these-reports-allege-trump-has-deep-ties-to-
      russia?utm_term=.srp6v32Bxl
      4
        Non-Party Fusion GPS’s Motion to Quash Third-Party Subpoena or, in the Alternative, for a
      Protective Order at 1-2, In re Third Party Subpoena to Fusion GPS, (No.1:17-mc-02171-TSC),
      (D.D.C., August 31, 2017).

                                                   -5-
Case 0:17-cv-60426-UU   Document 236-3
           Case 1:17-cv-02041-RJL      Entered
                                   Document 1 on   FLSD
                                               Filed     DocketPage
                                                     10/03/17   10/09/2018
                                                                    6 of 14 Page 97 of
                                       118




             9.      The Defendants intended, anticipated, or foresaw a high likelihood that

      allowing their clients and/or the media access to the Dossier’s defamatory content would

      result in its republication by news media outlets, including online news media such as

      BuzzFeed.

             10.     Plaintiffs seek an award of compensatory and punitive damages for the

      harm to their personal and professional reputations, current business interests, and the

      impairment of business opportunities that resulted from the blatantly false and

      defamatory statements and implications about them published by the Defendants and

      republished by BuzzFeed and countless other media around the world.

                                           THE PARTIES

             11.     Plaintiffs Fridman, Aven, and Khan are ultimate beneficial owners of

      Alfa. Fridman and Khan are each citizens of both Russia and Israel, and Aven is a citizen

      of Russia.

             12.     On information and belief, defendant Bean LLC is a Delaware corporation

      that conducts business under the name Fusion GPS. Fusion is registered to transact

      business in Washington, D.C., where it is headquartered and conducts its operations.

             13.     Defendant Glenn Simpson, on information and belief, is a principal of

      Fusion. He was the principal actor involved in securing the Dossier from Orbis and

      Steele, arranging for press briefings about it in the late summer and early fall of 2016,

      and publishing the Dossier to Fusion’s clients, government officials, and the news media.

      Simpson conducts his business for Fusion from an office in Washington, D.C., where his

      business included his activities with respect to the Dossier. Both Simpson and his sub-


                                                   -6-
Case 0:17-cv-60426-UU   Document 236-3
           Case 1:17-cv-02041-RJL      Entered
                                   Document 1 on   FLSD
                                               Filed     DocketPage
                                                     10/03/17   10/09/2018
                                                                    7 of 14 Page 98 of
                                       118




      contractor Steele used their prior experience as, respectively, an investigative journalist

      for the Wall Street Journal and an operative in British intelligence covering Russian

      matters, to give their “oppo research” output a gloss of credibility and reliability which,

      in this case, was unwarranted. Neither of them has ever stated that the Dossier and CIR

      112 were compiled in a fashion that accords with standards observed in their professions

      for establishing the credibility of sources and for verifying information provided by the

      sources. To the contrary, Steele has stated publicly that he did not abide by such

      standards in compiling the Dossier. 5

                                  JURISDICTION AND VENUE

             14.     This case is within this Court’s jurisdiction pursuant to 28 U.S.C. §

      1332(a)(2). Venue is proper in this District pursuant to 28 U.S.C. § 1391. The matter in

      controversy in the cause of action asserted herein exceeds $75,000.

                                    FACTUAL ALLEGATIONS

             15.     On information and belief, the Defendants were engaged by Republican

      Party political opponents of Donald Trump prior to his nomination as the Republican

      presidential candidate. The Defendants were tasked with conducting “oppo research”

      against Trump, including the gathering of compromising and salacious information about

      Trump’s personal behavior and business dealings in Russia. The Defendants in turn

      engaged Orbis and Steele for assistance in completing this task.




      5
       Defendants’ Response to Claimants’ Request For Information, Gubarev, et al. v. Orbis
      Business Intelligence Limited and Christopher Steele, Claim No. HQ17D00413, In The High
      Court of Justice, Queens Bench Division, May 18, 2017.

                                                   -7-
Case 0:17-cv-60426-UU   Document 236-3
           Case 1:17-cv-02041-RJL      Entered
                                   Document 1 on   FLSD
                                               Filed     DocketPage
                                                     10/03/17   10/09/2018
                                                                    8 of 14 Page 99 of
                                       118




             16.     Orbis proceeded to research Trump’s personal behavior in Russia and

      business dealings with Russian government officials, business leaders, and business

      entities. Steele compiled the “investigative” results into at least seventeen written CIR

      for delivery to the Defendants in Washington, D.C. The CIRs included raw, unverified

      information.

             17.     After Trump received the Republican nomination for President in July

      2016, the Defendants’ Republican clients terminated their relationship with Fusion.

      Media reports subsequently surfaced asserting that Fusion had entered into a new

      engagement with Democratic Party operatives interested in using the oppo research to

      support Hillary Clinton’s candidacy.

             18.     As they continued their work for their new clients, the Defendants knew,

      anticipated or reasonably should have foreseen that once in the hands of third parties—

      such as their new clients, other political operatives, or the media—the CIRs would be

      further disseminated publicly, thereby fostering widespread discussion about them in the

      United States and worldwide. That is exactly what happened. Much of that media

      attention and public discussion focused on Defendants’ and Steele’s roles in the creation

      and dissemination of the Dossier, and included interviews with them. During this

      campaign to promote the public dissemination of their “oppo research,” which, upon

      information and belief, included the provision of background briefing to the media by

      Defendants without attribution, Defendants never vouched for the credibility of their

      sources or the accuracy and reliability of the content of the Dossier and CIR 112.




                                                  -8-
Case 0:17-cv-60426-UU   Document 236-3
            Case 1:17-cv-02041-RJL     Entered
                                   Document  1 on  FLSD
                                                Filed    Docket Page
                                                      10/03/17  10/09/2018
                                                                     9 of 14 Page 100 of
                                        118




      Defendants published the Dossier and CIR 112 despite the fact that they did not know

      whether the defamatory accusations in CIR 112 about Plaintiffs were true.

             19.     CIR 112 specifically discusses the Plaintiffs. Its title, by itself, is

      defamatory: “RUSSIA/US PRESIDENTIAL ELECTION: KREMLIN-ALPHA GROUP

      CO-OPERATION.” CIR 112 suggests that Alfa and its executives, including the

      Plaintiffs, “cooperated” in an alleged Kremlin-orchestrated campaign to interfere in the

      2016 U.S. presidential election.

             20.     CIR 112 then makes, in sections labeled “Summary” and “Detail,” a series

      of factual allegations about the “current closeness” of an “Alpha Group/PUTIN

      relationship,” including that “[s]ignificant favors continue to be done in both directions”

      and that “FRIDMAN and AVEN [are] still giving informal advice to PUTIN, especially

      on the US.”

             21.     The Summary section of CIR 112 identifies a former employee of Alfa,

      Oleg Govorun, who is now the head of a government department in Putin’s

      administration, as a “key intermediary” in the “PUTIN-Alfa relationship.” CIR 112

      alleges that Govorun “delivered illicit cash directly to PUTIN” “throughout the 1990s,”

      when Govorun was an “Alpha executive” and Putin was the Deputy Mayor of St.

      Petersburg.

             22.     The first paragraph of the Detail section of CIR 112 then states the full

      names of Plaintiffs Fridman, Aven, and Khan. It then includes a report from a “Russian

      government official:”

                     although they have had their ups and downs, the leading
                     figures in Alpha currently are on very good terms with

                                                    -9-
Case 0:17-cv-60426-UU   Document 236-3
           Case 1:17-cv-02041-RJL      Entered
                                   Document 1 on   FLSD
                                               Filed     DocketPage
                                                     10/03/17   10/09/2018
                                                                    10 of 14 Page 101 of
                                        118




                     PUTIN. Significant favors continued to be done in both
                     directions, primarily political ones for PUTIN and
                     business/legal ones for Alpha. Also, FRIDMAN and
                     AVEN continued to give informal advice to PUTIN on
                     foreign policy, and especially about the US where he
                     distrusted advice being given him by officials.

             23.     Under any reasonable reading, Plaintiffs Fridman, Aven, and Khan, along

      with Alfa, are alleged to maintain a highly inappropriate, and even criminal, relationship

      with Putin. By clear and defamatory implication, Plaintiffs are also alleged to be

      involved in a Kremlin-orchestrated campaign to interfere in the 2016 U.S. election.

             24.     The second paragraph of the Detail section alleges that Mr. Fridman

      “recently met directly with PUTIN” and that “much of the dialogue and business between

      them was mediated” by Govorun, the former Alfa employee. The paragraph describes

      Govorun as a “senior Presidential Administration official” who is “trusted by PUTIN:”

                     during the 1990s GOVORUN had been Head of
                     Government Relations at Alpha Group and in reality the
                     ‘driver’ and ‘bag carrier’ used by FRIDMAN and AVEN to
                     deliver large amounts of illicit cash to the Russian
                     president, at that time deputy Mayor of St. Petersburg.
                     Given that and the continuing sensitivity of the PUTIN-
                     Alpha relationship, and need for plausible deniability,
                     much of the contact between them was now indirect and
                     entrusted to the relatively low profile GOVORUN.

             25.     These allegations are false. And their defamatory nature is clear: CIR 112

      alleges that, in the 1990s, Alfa (a member of “Alpha Group”) and three of its largest

      beneficial owners purportedly engaged in acts of criminal bribery of Vladimir Putin, a

      public official, to secure favorable business treatment.

             26.     That statement, particularly when considered in the context of the Dossier

      as a whole, implies that the alleged improper relationship between Alfa, the Plaintiffs,


                                                  -10-
Case 0:17-cv-60426-UU   Document 236-3
           Case 1:17-cv-02041-RJL      Entered
                                   Document 1 on   FLSD
                                               Filed     DocketPage
                                                     10/03/17   10/09/2018
                                                                    11 of 14 Page 102 of
                                        118




      and Putin is currently ongoing, and that Govorun, who is now an official in Putin’s

      administration, serves as an intermediary.

             27.     The third paragraph of the Detail section characterizes “the PUTIN-Alpha

      relationship as both a carrot and stick:”

                     Alpha held ‘kompromat’ on PUTIN and his corrupt
                     business activities from the 1990s whilst although not
                     personally overly bothered by Alpha’s failure to reinvest
                     the proceeds of its TNK oil company sales into the Russian
                     economy since, the Russian president was able to use
                     pressure on this count from senior Kremlin colleagues as a
                     lever on FRIDMAN and AVEN to make them do his
                     political bidding.

             28.     This passage is defamatory many times over. It suggests that Plaintiffs

      Fridman and Aven use their knowledge of past bribery of Putin—“kompromat”—as a

      means of criminally extorting continuing favorable treatment for their business interests

      from his government. It also implies that Alfa and two of its largest beneficial owners

      willingly maintain a close relationship with Putin and cooperated in some unspecified

      way in the Kremlin’s alleged campaign to interfere in the U.S. election in an effort to

      avoid retribution from Putin for not reinvesting business proceeds in Russia.

             29.     The statements about the Plaintiffs in the Dossier are false, defamatory,

      and gravely damaging.

                                        CAUSE OF ACTION

             30.     Plaintiffs repeat and reallege paragraphs 1-29 above.

             31.     By their direct and intentional publication to third parties such as clients,

      news media, journalists, and others, and by the foreseeable republication of the Dossier



                                                   -11-
Case 0:17-cv-60426-UU   Document 236-3
           Case 1:17-cv-02041-RJL      Entered
                                   Document 1 on   FLSD
                                               Filed     DocketPage
                                                     10/03/17   10/09/2018
                                                                    12 of 14 Page 103 of
                                        118




      and CIR 112 by someone in that group, the Defendants published to a worldwide public

      false and defamatory statements concerning Plaintiffs and Alfa, including that:

                     (a)     they are implicated in the scandalous allegations involving Russia

             and President Trump referred to in CIR 112 and the other CIRs in the Dossier;

                     (b)     they and other officials and employees of Alfa “cooperated” with

             an alleged Kremlin campaign to interfere in the U.S. presidential election;

                     (c)     they are parties to a highly inappropriate, and even criminal,

             relationship with Vladimir Putin;

                     (d)     they engaged in acts of criminal bribery of Putin, then the Deputy

             Mayor of St. Petersburg, in the 1990s to secure favorable business treatment; and

                     (e)     they continue to use their knowledge of past bribery of Putin as a

             means of criminally extorting continuing favorable treatment for their business

             interests from the Putin government.

             32.     Readers of the CIRs and Dossier were also led to understand, incorrectly,

      that as a result of their alleged past—and possibly current—close relationships and

      corrupt dealings, the Plaintiffs and Alfa were and are required to do Putin’s bidding,

      including by cooperating in the Kremlin’s recent alleged efforts to influence the outcome

      of the recent U.S. presidential election.

             33.     The false statements by the Defendants referred to above defamed the

      Plaintiffs and Alfa, and have caused and will continue to cause serious injury to their

      personal, professional, and institutional reputations.




                                                  -12-
Case 0:17-cv-60426-UU   Document 236-3
           Case 1:17-cv-02041-RJL      Entered
                                   Document 1 on   FLSD
                                               Filed     DocketPage
                                                     10/03/17   10/09/2018
                                                                    13 of 14 Page 104 of
                                        118




              34.      The false and defamatory statements published and republished by the

      Defendants concerning the Plaintiffs and Alfa, as well as the obvious implications of

      those statements, were made negligently or with reckless disregard of whether they were

      true or false.

              35.      Defendants are liable for the defamation of Plaintiffs and Alfa, and the

      resulting harm caused by the news media coverage of the Dossier, including the

      republication by BuzzFeed and countless other media.

              WHEREFORE, Plaintiffs Mikhail Fridman, Petr Aven, and German Khan

      demand judgment against Defendants Bean LLC, Fusion GPS, and Glenn Simpson for:

              a.       compensatory damages in an amount to be proved at trial, together with

      interest and the costs and disbursements of this action, plus reasonable attorneys fees;

              b.       punitive damages in an amount to be determined at trial; and

              c.       such other and further relief as this Court may deem just and proper.

      Dated: New York, New York
             October 3, 2017

                                             By:             /s/ Alan S. Lewis
                                                     Alan S. Lewis, Esq.
                                                     John J. Walsh, Esq.
                                                     CARTER LEDYARD & MILBURN LLP
                                                     2 Wall Street
                                                     New York, NY 10005
                                                     Telephone: 212-238-8647
                                                     New York Counsel for Plaintiffs
                                                      Mikhail Fridman, et al.

                                             By:            /s/ Kim H. Sperduto
                                                     Kim H. Sperduto, Esq. (# 416127)
                                                     Sperduto Thompson PLC
                                                     1133 Twentieth Street, NW Second Floor

                                                   -13-
Case 0:17-cv-60426-UU   Document 236-3
           Case 1:17-cv-02041-RJL      Entered
                                   Document 1 on   FLSD
                                               Filed     DocketPage
                                                     10/03/17   10/09/2018
                                                                    14 of 14 Page 105 of
                                        118




                                            Washington, DC 20036
                                            Telephone:    202-408-8900
                                            Local Counsel for Plaintiffs
                                             Mikhail Fridman et al.




                                          -14-
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 106 of
                                      118




                             EXHIBIT 11
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 107 of
                                      118
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 108 of
                                      118
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 109 of
                                      118
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 110 of
                                      118
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 111 of
                                      118
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 112 of
                                      118
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 113 of
                                      118
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 114 of
                                      118
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 115 of
                                      118
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 116 of
                                      118
Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 117 of
                                      118
         Case 0:17-cv-60426-UU Document 236-3 Entered on FLSD Docket 10/09/2018 Page 118 of
                                               118




FI LED: NEW YORK COUNTY CLERK 05/ 26/ 2017 03: 20 PM                                I NDEX NO. 154895/ 2017
NYSCEF DOC. NO. 1                                                            RECEI VED NYSCEF: 05/ 26/ 2017




                                               12 of 12
